Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 1 of 100 Page ID #:15




                EXHIBIT “A”
Electronically FILED by Superior Court of California, County of Los Angeles on 12/30/2022 06:18 PM David W. Slayton, Executive Officer/Clerk of Court, by E. Thomas,Deputy Clerk
                 Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 2 of 100 Page ID #:16
                                                  22STCV41085

                                                                                                                                                                         SUM-100
                                                             SUMMONS                                                                              FOR COURT USE ONLY
                                                                                                                                              (SOLO PARA USO DE LA CORTE)
                                                         (CITACION JUDICIAL)

         NOTICE TO DEFENDANT:
         (AV/SO AL DEMANDADO):
         Cedars-Sinai Health System and Cedars-Sinai Medical Center

         YOU ARE BEING SUED BY PLAINTIFF:
         (LO ESTA DEMANDANDO EL DEMANDANTE):
         John Doe, on behalf of himself and all others similarly situated

         NOTICE! You have been sued. The court may decide against you without your being heard unless you respon within 30 days. Read the information
         below.
            You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
         served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
         case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
         Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
         court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
         be taken without further warning from the court.
            There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
         referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
         these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
         (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
         costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
         iAVISO/ Lo han demandado. Si no responde dentro de 30 dfas, la corte puede decidir en su contra sin escuchar su version. Lea la informaci6n a
         continuaci6n.
            Tiene 30 DIAS DE CALENDAR/0 despues de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta
         corte y hacer que se entregue una copia al demandante. Una carta o una /lamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
         en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
         Puede encontrar estos formularios de la corte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
         biblioteca de /eyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la carte que
         le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podra
         quitar su sue/do, dinero y bienes sin mas advertencia.
            Hay otros requisitos lega/es. Es recomendab/e que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede 1/amar a un servicio de
         remisi6n a abogados. Si no puede pagar a un abogado, es posible que cump/a con /os requisitos para obtener servicios /egales gratuitos de un
         programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de /ucro en el sitio web de California Legal Services,
         (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
         colegio de abogados locales. AV/SO: Por ley, la corte tiene derecho a reclamar /as cuotas y los costos exentos por imponer un gravamen sobre
         cua/quier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
         pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

         The name and address of the court is:
         (El nombre y direcci6n de la carte es): Stanley Mosk
         111 N. Hill Street, Los Angeles, CA 90012

         The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
         (El nombre, la direcci6n y el numero de telefono de/ abogado def demandante, o def demandante que no tiene abogado, es):
         Rachele R. Byrd, Wolf Haldenstein, et al., 750 B Street, Suite 1820, San Diego, CA 92101, 619-239-4599
         DATE:                                                                Clerk, by                                           , Deputy
         (Fecha)                                                              (Secretario)                                        (Adjunto)
         (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
         (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
          [SEALJ                           NOTICE TO THE PERSON SERVED: You are served
                                           1.        as an individual defendant.
                                           2.        as the person sued under the fictitious name of (specify):

                                                  3.   D on behalf of (specify):
                                                        under:     CCP 416.10 (corporation)                D CCP 416.60 (minor)
                                                                 D CCP 416.20 (defunct corporation)        D CCP 416.70 (conservatee)
                                                                 D CCP 416.40 (association or partnership) D CCP 416.90 (authorized person)
                                                                 D other (specify):
                                                  4.   D by personal delivery on (date):                                                                                    Page 1 of 1
         Form Adopted for Mandatory Use
           Judicial Council of Califomia                                              SUMMONS                                                     Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                                      www.courts.ca.gov
          SUM-100 [Rev. July 1, 2009)
         Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 3 of 100 Page ID #:17
                                          22STCV41085
                                Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Maren Nelson

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                         RACHELE R. BYRD (190634)
                   1     FERDEZA ZEKIRI (335507)
                         WOLF HALDENSTEIN ADLER
                   2      FREEMAN & HERZ LLP
                         750 B Street, Suite 1820
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                   5     byrd@whafh.com
                         zekiri@whafh.com
                   6     Attorneys for Plaintiff
                   7
                   8
                                                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
                   9
                                                            IN AND FOR THE COUNTY OF LOS ANGELES
                 10
                 11        JOHN DOE, on behalf of himself and all) Case No.
                           others similarly situated,            )
                 12                                              ) CLASS ACTION COMPLAINT FOR:
                                       Plaintiff,                ) 1. Violations of the California Invasion
                 13                                                    of Privacy Act (Cal. Penal Code
                                                                 )
                 14                                              )     §§ 630, 631, et seq.);
                                 v.                              ) 2. Violations of the California Invasion
                 15                                              )     of Privacy Act (Cal. Penal Code
                                                                 )     § 632, et seq.);
                 16                                                3. Invasion of Privacy/Intrusion Upon
                           CEDARS-SINAI HEALTH SYSTEM and        )
                                                                       Seclusion – California Constitution
                 17        CEDARS-SINAI MEDICAL CENTER,          )     and Common Law;
                                                                 ) 4. Breach of Implied Contract;
                 18                    Defendants.               ) 5. Breach of Contract -- Third Party
                 19                                              )     Beneficiaries;
                           _____________________________________ ) 6. Breach of Implied Covenant of Good
                 20                                                    Faith and Fair Dealing;
                                                                   7. Negligence;
                 21                                                8. Violations of California’s
                 22                                                    Confidentiality of Medical
                                                                       Information Act (Cal. Civ. Code § 56,
                 23                                                    et seq.);
                                                                   9. Violations of the Unfair Competition
                 24                                                    Law (Cal. Bus. & Prof. Code § 17200,
                                                                       et seq.)
                 25
                 26                                                                                   CLASS ACTION

                 27                                                                                   JURY TRIAL DEMANDED
                 28
                         ______________________________________________________________________________

                                                                               CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 4 of 100 Page ID #:18




     1          Plaintiff John Doe (“Plaintiff”) brings this class action complaint against Cedars-Sinai
     2   Health System and Cedars-Sinai Medical Center (collectively, “Cedars-Sinai” or “Defendant”)
     3   on behalf of himself and all others similarly situated. Plaintiff alleges, upon personal knowledge
     4   as to his own actions and upon his counsel’s investigation and information and belief as to all
     5   other matters, as follows:
     6   I.     INTRODUCTION
     7          1.      Defendant Cedars-Sinai is a major healthcare organization based in Los Angeles,
     8   California. It maintains a website and a mobile application or “app” (together, the “Website”)
     9   through which it communicates with its more than one million patients.1 It encourages patients to
    10   use this Website to research their medical symptoms and health issues, identify doctors who can
    11   treat their specific conditions, make appointments with those doctors, and take other actions
    12   related to their personal health care. When doing this, patients convey highly private information,
    13   including medical information, through the Website.
    14          2.       Plaintiff and all other members of the proposed class (defined infra) are patients
    15   who communicated with Cedars-Sinai through its Website. They shared information, including
    16   their Protected Health Information (“PHI”) and Personally Identifiable Information (“PII”),2 with
    17   the reasonable belief that Cedars-Sinai would take appropriate steps to maintain the privacy of
    18   these communications.
    19          3.       Instead, Cedars-Sinai took the opposite course. Without these patients’
    20   knowledge or consent, Defendant shared their Private Information with unrelated companies
    21   including Facebook/Meta,3 Google, Microsoft Bing, and other marketing and social media
    22   platforms or businesses.
    23
    24
         1
    25           See https://www.cedars-sinai.org/about.html (last visited Dec. 29, 2022). The home page
         of this Website can be found at https://www.cedars-sinai.org/. Through it, one can reach Cedars-
    26   Sinai’s patient portal, the home page of which is https://www.cedars-sinai.org/mycslink.html.
         2
                 This information is collectively and severally referred to as “Private Information.”
    27   3
                 In October 2021, Facebook, Inc. changed its name to Meta, Inc. Unless otherwise
    28   indicated, Facebook, Inc. and Meta, Inc. are referenced collectively herein as “Meta.”


                                                        -1-
                                            CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 5 of 100 Page ID #:19




     1          4.      Cedars-Sinai transmitted to third parties portions of the patients’ private
     2   communications with it through pieces of tracking code that it embedded in its Website, for the
     3   sole purpose of sharing such information with marketing entities. This code served as real time
     4   wiretaps on patients’ communications.
     5          5.      Cedars-Sinai’s goal in installing the tracking code was not to provide any benefit
     6   to its patients but only to itself. Cedars-Sinai installed the tracking code to obtain insight about
     7   how its patients and potential patients use its Website.
     8          6.      By installing the tracking code, moreover, Cedars-Sinai enabled the marketing
     9   entities to use patients’ Private Information to target them with advertising by yet other,
    10   unrelated businesses. By way of illustration, if a patient made an appointment with a doctor for
    11   treatment of cancer, the tracking code Cedars-Sinai put on its Website conveyed that information
    12   to Meta, which in turn allowed Meta to include that patient in marketing target groups that it
    13   offered to its other advertising clients who wanted to market to cancer patients.
    14          7.      Cedars-Sinai’s conduct in sharing patients’ health information and other
    15   personally identifiable information violates an array of laws and duties. Plaintiff thus sues, on
    16   behalf of himself and a class of all persons who used Defendant’s Website at any time when
    17   tracking code able to share data with third parties for marketing or web-site analytics purposes
    18   was present on the Website (the “Class”), seeking remedies for: violations of the California
    19   Invasion of Privacy Act (“CIPA”), Cal. Penal Code § 631, et seq. and the privacy rights
    20   protected by California’s Constitution and common law; breaches of implied contractual
    21   promises by Cedars-Sinai; breach of Cedars-Sinai’s contract with Meta, of which Class members
    22   are third-party beneficiaries; violation of California’s Confidentiality of Medical Information
    23   Act, Cal. Civ. Code § 56, et seq.; violation of California’s Unfair Competition Law, Bus. & Prof.
    24   Code § 17200, et seq.; and other tortious acts as described herein.
    25   II.    JURISDICTION & VENUE
    26          8.      This Court has jurisdiction over this action under California Code of Civil
    27   Procedure § 410.10. The total amount of damages incurred by Plaintiff and the Class in the
    28


                                                         -2-
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 6 of 100 Page ID #:20




     1   aggregate exceeds the $25,000 jurisdictional minimum of this Court. Further, the amount in
     2   controversy as to Plaintiff individually does not exceed $75,000.
     3          9.      This Court has jurisdiction over Defendant because it is located within Los
     4   Angeles County, California.
     5          10.     This action does not qualify for federal jurisdiction under the Class Action
     6   Fairness Act because the home-state controversy exception under 28 U.S.C. § 1332(d)(4)(B)
     7   applies to this action because (1) more than two-thirds of the members of the proposed Class are
     8   citizens of the State of California, and (2) Defendant is a citizen of the State of California.
     9          11.     Venue is proper in this Court under California Bus. & Prof. Code § 17203 and
    10   Code of Civil Procedure §§ 395(a) and 395.5 because Defendant is headquartered within this
    11   Court’s jurisdiction and because a substantial part of the events giving rise to Plaintiff’s claims
    12   occurred in this County.
    13   III.   PARTIES
    14          12.     Plaintiff John Doe is a resident of the City of Los Angeles, California. Plaintiff is
    15   a healthcare consumer who used Defendant’s Website, https://www.cedars-sinai.org/, including
    16   its patient portal available through the Website, My CS-Link, to communicate personal medical
    17   information to Defendant. Defendant wrongfully shared Plaintiff’s personal information,
    18   including private medical information, without Plaintiff’s knowledge or consent.
    19          13.     Plaintiff Doe is also a Facebook user who has used the “Keep Me Logged In”
    20   feature of his Facebook account. He has noticed an increase in the number of health related ads
    21   that he has received and he has received ads relating to the condition about which he
    22   communicated on Defendant’s Website.
    23          14.     Defendant Cedars-Sinai Medical Center is a private non-profit healthcare
    24   organization headquartered in Los Angeles, California.4 According to publicly available sources,
    25
    26   4
                 Cedars           Sinai,         ABOUT           US,      https://www.cedars-
         sinai.org/about.html?s_kwid=&&origin=sitelink&gclid=CjwKCAjwwdWVBhA4EiwAjcYJECi
    27
         4Wk4AtxtCGg0bqj7uO8Eh4YM8Iv8sVqvH2Yu6qpyj9q4Bj4--
    28   oBoCHQ4QAvD_BwE&gclsrc=aw.ds (last visited Dec. 28, 2022).


                                                          -3-
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 7 of 100 Page ID #:21




     1   it generated over $3.8 billion in revenue in 2020.5
     2          15.     Defendant Cedars-Sinai Health System is a California non-profit corporation and
     3   the parent organization of Cedars-Sinai Medical Center. Cedars-Sinai Health System is the sole
     4   corporate member of Cedars-Sinai Medical Center. The Website states that “[t]he Cedars-Sinai
     5   Health System (“CSHS”) website is owned and operated by Cedars-Sinai Health System.”6
     6   IV.    STATEMENT OF FACTS
     7          A.      Cedars-Sinai’s Inclusion of Tracking Codes on Its Website
     8          16.     Defendant Cedars-Sinai is a Los Angeles health services organization which sees
     9   over a million patients per year.7 One of its primary means of communication with those patients
    10   is through its Website. In a brazen violation of law and of its own promises, it embedded code on
    11   its Website designed to facilitate eavesdropping by Meta and other unrelated third parties.
    12          17.     The home page of Cedars-Sinai’s Website provides highly visible links that
    13   encourage visitors to “Become a Patient,” “Make an appointment,” “Find a Doctor,” use the
    14   “Health Library,” log into the patient portal, My CS-Link, and take other actions. Use of these
    15   links can require patients to transmit information about: the specialty, gender and location of
    16   doctors they are seeking; their own or their family members’ medical conditions; and/or take
    17   other actions that necessarily transmit significant private information.
    18          18.     What was not visible on the Website, although Cedars-Sinai placed it there, was
    19   tracking code that transmitted patients’ selections and actions on the Website to Meta, Google
    20   and other entities that provide marketing services to Cedars-Sinai.
    21          19.     Defendant shared patients’ communications with at least the following third
    22   parties: Meta, Google, Microsoft (Bing), Broadcastmed.innocraft.cloud (a healthcare media
    23   company) and Marketo (an automated marketing services entity). On information and belief,
    24   5
                 ProPublica,                CEDARS-SINAI                 MEDICAL                   CENTER,
    25   https://projects.propublica.org/nonprofits/organizations/951644600 (last visited Dec. 28, 2022).
         6
                 See            https://www.cedars-sinai.org/privacy-policy.html#:~:text=The%20Cedars-
    26   Sinai%20Health%20System%20%28%22CSHS%22%29%20website%20is,owned%20and%20o
         perated%20by%20Cedars-Sinai%20Health%20System (last visited Dec. 29, 2022).
    27   7
                 Cedars Sinai, ABOUT US, https://www.cedars-sinai.org/about.html (last visited Dec. 28,
    28   2022).


                                                         -4-
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 8 of 100 Page ID #:22




     1   each of these offered marketing, rather than any medically-related, services and none had any
     2   right to patients’ data.
     3           20.     At some point between July 6 and July 10, 2022, Cedars-Sinai removed Meta’s
     4   code from its Website, but the harm has already been done. Moreover, other marketing tracking
     5   code from, for example, Google and Microsoft, remains.
     6           21.     Plaintiff and Class members never consented, agreed to, authorized, or otherwise
     7   permitted Defendant to disclose any of their Private Information to any of these entities.
     8           B.      Types of Tracking Code Through Which Defendant Shared Private Patient
                         Information
     9
                         1.         The Meta Pixel
    10
                 22.     In order to increase its advertising revenue, Meta, the world’s largest and most
    11
         profitable social networking company, devises tools to identify which users may be interested in
    12
         specific products, which allows it to enable its advertising clients to target their advertising to
    13
         particular groups with those interests. One such tool is the “Meta Pixel” (formerly known as the
    14
         “Facebook Pixel” and referred to herein as the “Pixel”), a piece of code written by Meta to
    15
         enable itself and its business customers to track and share data about customer transactions.
    16
                 23.     Cedars-Sinai chose to include the Pixel on its Website.
    17
                 24.     While the Pixel was on the Website, when a patient entered the following
    18
         information, the information would simultaneously be shared with Meta:
    19
                                   The types of medical treatment the patient sought;
    20
                                   The name, gender, language, and specialty of the physician(s) that the
    21
                                    patient specified when seeking treatment;
    22
                                   The patient’s searches relating to COVID-19 information and treatment;
    23
                                   The locations where the patient sought treatment; and
    24
                                   That a patient clicked to make a telephone call in order to schedule an
    25
                                    appointment through the site.
    26
                 25.     By way of illustration, if a patient selected the “Find a Doctor” button on the main
    27
         page of Defendant’s Website, they would be directed to a page where they could search for
    28


                                                            -5-
                                                CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 9 of 100 Page ID #:23




     1   doctors by using keywords such as condition, specialty, or by name, gender, location and
     2   language, among other things, as shown below.
     3
     4
     5
     6
     7
     8
     9
    10
    11
    12
    13
    14          26.    As the patient submitted their search, the terms of the search would be
    15   simultaneously transmitted to Meta. The patient would then be directed to a search results page,
    16   like the one shown below:
    17
    18
    19
    20
    21
    22
    23
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    25
    26
    27
    28


                                                      -6-
                                           CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 10 of 100 Page ID #:24




     1          27.     When the patient then selected a doctor on this page by clicking on the link for
     2   that doctor, the fact of that selection was simultaneously transmitted to Meta.
     3          28.     If the patient then clicked on a button to call the doctor’s office and make an
     4   appointment, because of the Pixel, Meta would immediately receive notification of that click,
     5   before the transmission of the communication to Defendant was complete.
     6          29.     Meta’s own documentation makes clear just how much tracking of private
     7   information the Pixel does. It describes the Pixel as code that Meta’s business customers can put
     8   on their website to “[m]ake sure your ads are shown to the right people. Find … people who
     9   have visited a specific page or taken a desired action on your website.” (Emphasis added.)8
    10          30.     Meta instructs such business customers that:
    11          Once you’ve set up the Meta Pixel, the Pixel will log when someone takes an
                action on your website. Examples of actions include adding an item to their
    12
                shopping cart or making a purchase. The Pixel receives these actions, or events,
    13          which you can view on your Meta Pixel page in Events Manager. From there,
                you’ll be able to see the actions that your customers take. You’ll also have
    14          options to reach those customers again through future Facebook ads.9
    15
                31.     Of course, in the healthcare context, it is medical specialists that users “add to
    16
         their shopping cart.” They make doctor’s appointments rather than making purchases.
    17
                32.     The Pixel code enables Meta not only to help Cedars-Sinai with advertising to its
    18
         own patients outside the Cedars-Sinai Website, but also to include individual patients among
    19
         groups targeted by other Meta advertisers relating to the conditions about which patients
    20
         communicated on Cedars-Sinai’s Website.
    21
                33.     In other words, Meta sells advertising space by highlighting its ability to target
    22
         users.10 Meta can target users so effectively because it surveils user activity both on and off its
    23
    24
         8
    25           Meta,                   ABOUT                     META                       PIXEL
         https://www.facebook.com/business/help/742478679120153?id=1205376682832142 (last visited
    26   Dec. 28, 2022).
         9
                 Id. (Emphasis added.)
    27   10
                 Meta, WHY ADVERTISE ON FACEBOOK, INSTAGRAM AND OTHER META TECHNOLOGIES,
    28   https://www.facebook.com/business/help/205029060038706 (last visited Dec. 28, 2022).


                                                        -7-
                                            CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 11 of 100 Page ID #:25




     1   site.11 This allows Facebook to make inferences about users beyond what they explicitly
     2   disclose, like their “interests,” “behavior,” and “connections.”12
     3          34.     Meta’s Business Help Center explains:
     4          Meta uses marketing data to show ads to people who are likely to be interested
                in them. One type of marketing data is website events, which are actions that
     5
                people take on your website.13
     6          35.     Meta’s Terms and Conditions for Data Processing instructs businesses like
     7   Cedars-Sinai that Meta may correlate the data business customers provide with individual
     8   Facebook users:
     9          You may provide Event Data to improve ad targeting and delivery optimization of
    10          your ad campaigns. We may correlate that Event Data to people who use
                Facebook Company Products to support the objectives of your ad campaign,
    11          improve the effectiveness of ad delivery models, and determine the relevance of
                ads to people. We may use Event Data to personalize the features and content
    12          (including ads and recommendations) that we show people on and off our
    13          Facebook Company Products.14

    14          36.     One service that Meta provides using the data obtained through the Pixel is “Core
    15   Audiences.” This allows advertisers to select highly specific filters and parameters, such as
    16   demographics, behavior and interests, which Meta will use in directing their targeted
    17   advertisements.15
    18
         11
    19           Meta, ABOUT META PIXEL,
         https://www.facebook.com/business/help/742478679120153?id=1205376682832142 (last visited
    20   Dec. 29, 2022).
         12
                 Meta, AD TARGETING: HELP YOUR ADS FIND THE PEOPLE WHO WILL LOVE YOUR BUSINESS,
    21   https://www.facebook.com/business/ads/ad-targeting (last visited Dec. 29, 2022).
         13
    22            Meta,       ABOUT        STANDARD      AND        CUSTOM         WEBSITE EVENTS
         https://www.facebook.com/business/help/964258670337005?id=1205376682832142 (emphasis
    23   added) (last visited Dec. 29, 2022).
         14
                     Facebook,            FACEBOOK          BUSINESS             TOOLS     TERMS,
    24
         https://m.facebook.com/legal/technology_terms?locale=ne_NP&_rdr (emphasis added) (last
    25   visited Dec. 29, 2022).
         15
                 FACEBOOK, AD TARGETING, HELP YOUR ADS FIND THE PEOPLE WHO WILL LOVE YOUR
    26   BUSINESS,
         https://www.facebook.com/business/ads/ad-
    27
         targeting#:~:text=Core%20AudiencesDefine%20an%20audience,your%20business%2C%20onli
    28   ne%20or%20off (last visited Dec. 29, 2022).


                                                         -8-
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 12 of 100 Page ID #:26




     1          37.     Another of the services that Meta offers to companies that pay it for advertising is
     2   “Lookalike Audiences.” That service relies on information that Meta obtains about end users,
     3   like Class members, based on their usage of websites, like Defendant’s Website, where
     4   advertising customers, like Defendant, install Meta’s code. As Oberlo explains:
     5          One of the great things about Meta advertising is “Lookalike Audiences.” You
                can design Lookalike Audiences to reflect the characteristics of your best
     6          customers.
     7          The code knows who did what on your website, and the Facebook platform can
                use that data to identify people who share similar traits as your visitors. So if
     8          your “Big spenders” segment is full of 25-35 year old females who live in urban
     9          areas, Facebook can create a Lookalike Audience of other 25-35 year old
                females who live in urban areas and who Facebook thinks might be interested in
    10          your products.16
    11   The process has been illustrated as follows:17
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22          38.     Again, in the healthcare context, instead of tracking customers, the Pixel tracks

    23   patients, and instead of shopping preferences it tracks medical concerns.

    24
    25
    26   16
                  Oberlo, A COMPLETE GUIDE TO FACEBOOK TRACKING FOR BEGINNERS,
         https://www.oberlo.com/blog/facebook-pixel (emphasis added) (last visited Dec. 29, 2022).
    27   17
                  Instapage, WHAT IS THE META PIXEL AND WHAT DOES IT DO?,
    28   https://instapage.com/blog/meta-pixel (last visited Dec. 29, 2022).


                                                          -9-
                                            CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 13 of 100 Page ID #:27




     1          39.     The foregoing all demonstrates that Meta can and does use unique patient
     2   information to facilitate the targeting of individuals like Plaintiff and all other Class members,
     3   whose personal information is sent to Meta – as Cedars-Sinai sent it – through the Pixel.
     4          40.     The ready availability of this information on Meta’s business pages also
     5   demonstrates that Defendant knew or was reckless in not knowing about this transmission and
     6   information before it installed the Pixel on its Website.
     7          41.     In terms of technology, the Pixel is JavaScript code that sends Meta a collection
     8   of data whenever a person interacts in certain ways with a website. When a user selects a URL or
     9   clicks a button on a website, the browser sends a “GET Request” to the server, requesting that a
    10   particular webpage be loaded. When a user accesses a website hosting the Pixel, Facebook’s
    11   software script surreptitiously directs the user’s browser to send a separate message to
    12   Facebook’s servers. This second, secret transmission contains the original GET request sent to
    13   the host website, along with additional data that the Pixel is configured to collect. This
    14   transmission is initiated by Facebook code and concurrent with the communications with the
    15   host website. Two sets of code are thus automatically run as part of the browser’s attempt to load
    16   and read Defendant’s Website—Defendant’s own code, and Facebook’s embedded code that
    17   Defendant placed there.
    18          42.     Again, an example illustrates the point. Take an individual who navigates to
    19   Defendant’s Website and clicks on a tab for eating disorder information. When that tab is
    20   clicked, the individual’s browser sends a GET request to Defendant’s server requesting that
    21   server to load the particular webpage. Because Cedars-Sinai utilizes the Pixel, Facebook’s
    22   embedded code, written in JavaScript, sends secret instructions back to the individual’s browser,
    23   without alerting the individual that this is happening. Facebook causes the browser to secretly
    24   duplicate the communication with Cedars-Sinai, transmitting it to Facebook’s servers, alongside
    25   additional information that transcribes the key elements of the communication’s content and the
    26   individual’s identity.
    27          43.     After collecting and intercepting this information, Meta processes it, analyzes it,
    28   and assimilates it into datasets including Core Audiences and Lookalike Audiences.


                                                        - 10 -
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 14 of 100 Page ID #:28




     1          44.     Moreover, for any user that was a Facebook member and used Facebook on the
     2   same browser as they used the Website and had not logged out from Facebook, or used the
     3   commonly used “Keep Me Logged In” feature, the Pixel would transmit that individual’s
     4   “c_user” number to Meta. A “c_user” number includes the user’s unique Facebook identification
     5   number, which Meta uses to link an individual’s activities and communications, including those
     6   on other websites like Cedars-Sinai’s, to the user’s identity and Meta account.18
     7          45.     Here, when a patient transacted with Defendant’s Website, due to the Pixel, an
     8   HTTP single communication session would be sent automatically from the patient’s device to
     9   Meta. That communication revealed the provider information the patient is searching for, along
    10   with the patient’s Facebook identification (c_user field).
    11          46.     It is alarmingly easy to identify a person by their user identification number.
    12   Facebook states that the user ID can, “[a]llow someone with the ID to see your profile, including
    13   any public information.”19 Indeed, as detailed on the website Techwalla, “if you have someone’s
    14   ID number and want to map it to a profile, you can go to www.facebook.com/[id-number],
    15   replacing “id-number” with the person’s Facebook ID. When you have access to the profile,
    16   you’ll see the profile page including the person’s name they used when registering with
    17   Facebook.”20
    18          47.     That means that the private medical information a person enters onto Defendant’s
    19   Website that is transferred with their c_user code can be easily linked to the person themselves.
    20          48.     For example, when someone searches on Defendant’s Website for a doctor who
    21   specializes in eating disorders, who is male, who is located near Beverly Hills, code is generated
    22
         18
                  Medium,          Seralahthan,           FACEBOOK              COOKIES           ANALYSIS,
    23   https://techexpertise.medium.com/facebook-cookies-analysis-
         e1cf6ffbdf8a#:~:text=browser%20session%20ends.-
    24
         ,%E2%80%9Cc_user%E2%80%9D,after%2090%20days%20of%20inactivity (“The c_user
    25   cookie contains the user ID of the currently logged in user.”) (last visited Dec. 29, 2022).
         19
                  Facebook, HOW USERNAMES AND USER IDS ARE USED ON FACEBOOK PROFILES,
    26   https://www.facebook.com/help/211813265517027 (last visited Dec. 29, 2022).
         20
                  Techwalla, HOW TO FIND A PERSON FROM THEIR FACEBOOK ID,
    27
         https://www.techwalla.com/articles/how-to-find-a-person-from-their-facebook-id (last visited
    28   Dec. 29, 2022).


                                                        - 11 -
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 15 of 100 Page ID #:29




     1   that transmits to Facebook: the doctor’s name, the search terms “Eating disorders,” “anorexia”
     2   and “bulimia,” and the patient’s unique Meta identifier, the c_user number.
     3          49.     The code generated by such a search also includes the “fbp” cookie, which can be
     4   an indicator that the Facebook Pixel is present on the Website.
     5          50.     The code generated by such a search also includes a “datr” cookie. This is a
     6   cookie that Meta uses to identify the web browser through which the user is communicating. It is
     7   a unique identifier and thus another means to identify individual users.
     8          51.     The search code also reflects an “fr” cookie. This is a Meta identifier that is an
     9   encrypted combination of the c_user and datr cookies.
    10          52.     By incorporating the code into its Website, Defendant facilitated this
    11   eavesdropping by Meta on patient communications.
    12          53.     On information and belief, Defendant also included the Pixel on its password
    13   protected portal, My CS-Link.
    14          54.     Cedars-Sinai included the Pixel on its Website despite knowing that it would
    15   allow Meta to identify individual users’ communications containing PII and PHI.
    16                  2.     Google Analytics Tracking Code
    17          55.     Cedars-Sinai also uses “Google Analytics,” a web analytics service that allows
    18   website owners to track visitor actions on the Website and target them with personalized
    19   advertisements. The code for Google Analytics is still on Defendant’s Website as of the filing of
    20   this Complaint. The code is both on the main pages and on those accessed after a user enters a
    21   user name and password. Google tracking code is also present when a person performs the same
    22   functions through Cedars-Sinai’s smartphone app, as well as through the Website.
    23          56.     Google’s Analytics Help pages instruct health care providers like Defendant:
    24          Google does not intend uses of Google Analytics to create obligations under the
    25          Health Insurance Portability and Accountability Act, as amended, (“HIPAA”),
                and makes no representations that Google Analytics satisfies HIPAA
    26          requirements. If you are (or become) a Covered Entity or Business Associate
    27
    28


                                                       - 12 -
                                            CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 16 of 100 Page ID #:30




                under HIPAA, you may not use Google Analytics for any purpose or in any
     1
                manner involving Protected Health Information.21
     2          57.     Despite the above warning, Defendant embedded Google Analytics code on is
     3   Website.
     4          58.      Google Analytics collects IP addresses of individual Internet users to facilitate
     5   and track Internet communications. It also collects various cookie-related user identifiers that
     6   allow it to link transactions on websites to individual users for the purpose of targeted
     7   advertising.
     8          59.     The data is connected to the user’s IP address, which is a unique address that
     9   identifies a device on the internet. IP addresses constitute personally identifiable information.
    10          60.      For example, the Health Insurance Portability and Accountability Act of
    11   1996 (“HIPAA”)      characterizes    IP   addresses     as   “direct   identifiers,”   45   C.F.R.   §
    12   164.514(e)(2)(B)(2)(xiv), and provides that “[a] covered entity may determine that health
    13   information is not individually identifiable health information if; … (2)(i) [t]he following
    14   identifiers of the individual or of relatives, employers, or household members of the individual,
    15   are removed: … (O) Internet Protocol (IP) address numbers.” 45 C.F.R. § 164.514(b)(2)(i)(O).
    16   The only alternative to the removal of such information is that: “[a] person with appropriate
    17   knowledge of and experience with generally accepted statistical and scientific principles and
    18   methods for rendering information not individually identifiable: (i) [a]pplying such principles
    19   and methods, determines that the risk is very small that the information could be used, alone or
    20   in combination with other reasonably available information, by an anticipated recipient to
    21   identify an individual who is a subject of the information; and (ii) [d]ocuments the methods and
    22   results of the analysis that justify such determination.” Id. at 45 C.F.R. § 164.514(b). On
    23   information and belief, these standards were not met here.
    24
    25
    26   21
                  Google, ANALYTICS HELP, BEST PRACTICES TO AVOID SENDING PERSONALLY
         IDENTIFIABLE                              INFORMATION                          (PII),
    27
         https://support.google.com/analytics/answer/6366371?hl=en#zippy=%2Cin-this-article
    28   (emphasis added) (last visited Dec. 29, 2022).


                                                        - 13 -
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 17 of 100 Page ID #:31




     1          61.        Google offers an IP Anonymization tool for entities (like Defendant) using
     2   Google Analytics, so that end users (like Plaintiff and the Class members) will not have their full
     3   IP address reported and stored. Google’s website explains, “The IP-masking feature in Universal
     4   Analytics sets the last octet of IPv4 user IP addresses and the last 80 bits of IPv6 addresses to
     5   zeros in memory shortly after being sent to Google Analytics. The full IP address is never
     6   written to disk in this case.”22 Google further states, “This feature is designed to help site
     7   owners comply with their own privacy policies or, in some countries, recommendations from
     8   local data protection authorities, which may prevent the storage of full IP address
     9   information.”23
    10          62.        Defendant does not use Google’s IP Anonymization tool.
    11          63.        As a result of Defendant’s decision not to use the IP anonymization feature,
    12   Defendant transmits patients’ full IP addresses to Google, meaning that communications are not
    13   anonymous, regardless of whether Google also placed ID cookies on the user’s device.
    14          64.        Like Meta’s Lookalike Audiences, Google offers “Similar Audiences.” Google
    15   explains on its website:
    16          To find similar segments, Google Ads looks at the millions of people searching on
                Google. …
    17
                A similar segments list is created from a remarketing list or Customer Match list
    18
                with at least 1,000 cookies with enough similarity in search behavior to create a
    19          corresponding similar segment.

    20          Website tag and rule-based remarketing lists, as well as Customer Match lists
                built from email addresses, mailing addresses, and/or phone numbers, can be used
    21          to generate similar segments.….24
    22
         (Emphasis added.)
    23
    24   22
                  Google,   ANALYTICS      HELP,     IP   MASKING     IN     UNIVERSAL      ANALYTICS,
    25   https://support.google.com/analytics/answer/2763052?hl=en (last visited Dec. 29, 2022).
         23
                  Id.
    26   24
                  Google Ads Help, ABOUT      SIMILAR        SEGMENTS             FOR            SEARCH,
         https://support.google.com/google-
    27
         ads/answer/7151628?hl=en#:~:text=To%20find%20similar%20audiences%2C%20Google,visito
    28   rs%20on%20the%20original%20list (last visited Dec. 29, 2022).


                                                       - 14 -
                                            CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 18 of 100 Page ID #:32




     1             65.    Google explains, for its marketing and developer clients:
     2             In order for Google Analytics to determine that two distinct hits belong to the
                   same user, a unique identifier, associated with that particular user, must be sent
     3             with each hit.
     4
                   The analytics.js library accomplishes this via the Client ID field, a unique,
     5             randomly generated string that gets stored in the browsers cookies, so subsequent
                   visits to the same site can be associated with the same user.
     6
                   By default, analytics.js uses a single, first-party cookie named _ga to store the
     7             Client ID, but the cookie’s name, domain, and expiration time can all be
     8             customized.        Other        cookies         created      by       analytics.js
                   include _gid, AMP_TOKEN and _gac_<property-id>. These cookies store other
     9             randomly generated ids and campaign information about the user.25
    10
                   66.    For example, when a patient clicks on a link to a particular doctor, the code that is
    11
         generated related to Google Analytics shows: the doctor’s name, and various “cookies” that
    12
         Google uses to track individual users. The doctor’s specialty is readily available on Defendant’s
    13
         website, so conveying this information Google Analytics makes it easy to identify the medical
    14
         condition for which the user is seeking a doctor. The Google Analytics cookies in the code
    15
         generated by the search include strings beginning with “gid” and “cid” (Google Analytics’
    16
         “Client ID”) cookie, followed by strings of unique numbers Google uses to identify to the user’s
    17
         device.
    18
                   67.    On the portions of the Website that are reached after a patient enters their
    19
         password, Google tracking code that Defendant embedded similarly informs Google of each
    20
         page that a patient clicks on, including those displaying doctor’s names.
    21
                   68.    This disclosure of patient information was unwarranted and improper.
    22
                          3.     Microsoft Bing Tracking Software
    23
                   69.    Defendant also placed tracking code created by Microsoft, called bat.bing, on its
    24
         Website. bat.bing collects a Microsoft’s Machine Unique Identifier (MUID cookie) from users.
    25
    26
         25
                 Google        Analytics,       COOKIES         AND         USER         IDENTIFICATION,
    27
         https://developers.google.com/analytics/devguides/collection/analyticsjs/cookies-user-id   (last
    28   visited Dec. 29, 2022).


                                                         - 15 -
                                              CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 19 of 100 Page ID #:33




     1   This cookie is a unique user identifier and remains active for one year. It is used for advertising,
     2   site analytics, and other operational purposes. Similar to Google Analytics, when a user clicks on
     3   a doctor’s name, bringing them to that doctor’s page, bat.bing passes the name, along with the
     4   MUID, to Microsoft.
     5                   4.     Additional Marketing Entities That Were Sent Patient
                                Communications
     6
                  70.    Defendant also placed code on its website that transmitted information regarding
     7
         the patients’ activity on the Cedars-Sinai website to the following marketing related entities.
     8
         Again, the name of the hospital and doctor are transferred through the tracking code to the
     9
         marketing partner.
    10
                                (a) Broadcastmed.innocraft.cloud
    11
                  71.    According to its website: “BroadcastMed is a groundbreaking healthcare media
    12
         company that plans, produces, and promotes engaging healthcare content in the clinical setting
    13
         using data-driven solutions to optimize marketing initiatives.”26 Like the other marketing entities
    14
         to which Cedars-Sinai transmitted patient communications, Broadcastmed is focused on use of
    15
         patient information to drive marketing decisions. Its website further explains, “[t]he company’s
    16
         proprietary AI-driven data yields unrivaled healthcare industry insights to guide future marketing
    17
         strategies and decisions for their clients.” Transferring Patient information to such and entity
    18
         would not be done for the patient’s benefit, but for the marketer’s.
    19
                  72.    When a person clicks on a particular doctor on Defendant’s Website,
    20
         Broadcastmed’s tracking code passes the doctor’s name back to Broadcastmed.
    21
                                (b) Mktoresp.com
    22
                  73.    Defendant also had tracking code on its website identified as “mktoresp.com.”
    23
          This appears to be a part of Marketo, which is a marketing automation service associated with
    24
          Adobe.27
    25
    26   26
                  Broadcastmed, ABOUT US, https://www.broadcastmed.com/about-us (last visited Dec. 29,
         2022).
    27   27
                 Adobe Experience Cloud, THE DEFINITIVE GUIDE TO MARKETING AUTOMATION,
    28   https://www.marketo.com/definitive-guides/marketing-automation/ (last visited Dec. 29, 2022).


                                                        - 16 -
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 20 of 100 Page ID #:34




     1          74.     As with the tracking codes for Google, Microsoft, and Broadcastmed, this code
     2   transferred the name of the doctor that the patient clicked on to a third party, along with the
     3   user’s IP address, without the patient’s knowledge or consent. Marketo’s default setting is to not
     4   anonymize IP addresses. On information and belief, Cedars-Sinai did not change the setting to
     5   anonymize the IP addresses. Cedars-Sinai had no legitimate reason for sharing such patient
     6   communications with this entity.
     7          C.      Class Members Had Multiple Bases for Reasonable Expectations of Privacy
     8          75.     Plaintiff and Class members, as patients of Cedars-Sinai, had numerous reasons to
     9   expect that their communications with Defendant would be kept private. First, Cedars-Sinai
    10   never obtained their consent to share their Private Information for purposes unrelated to services
    11   that the patients requested.
    12          76.     Moreover, Cedars-Sinai never disclosed that it was doing so. The tracking code is
    13   designed to be invisible to a normal website user.
    14          77.     In addition, as detailed herein, an array of policies, state and federal statutes, and
    15   common understandings give rise to such reasonable expectations.
    16          D.      Many Policies and Regulations Demonstrate the Impropriety of Defendant’s
                        Sharing of Patient Information
    17
                78.     By sharing patient data with third parties, Defendant violated its own and Meta’s
    18
         privacy policies as well as government standards and regulations. Defendant knew of its
    19
         responsibility to protect patient communications and ignored it to further its advertising goals.
    20
                        1.      Defendant’s Violation of Its Privacy Policy
    21
                79.     Cedars-Sinai had a Privacy Policy through which it assured Class members that
    22
         that their information would be protected and not shared for purposes unnecessary to services
    23
         specifically requested by the patients.28 This policy shows that Defendant knew it had a
    24
         responsibility to protect patient information, rather than share it unnecessarily.
    25
                80.     Defendant’s Website’s Privacy Policy states:
    26
    27   28
                 Cedars Sinai, PRIVACY POLICY, https://www.cedars-sinai.org/privacy-policy.html (last
    28   visited Dec. 29, 2022).


                                                         - 17 -
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 21 of 100 Page ID #:35




                Personally identifiable information is information you provide that lets us know
     1
                specific facts about you so that we can respond to your requests. Depending on
     2          the portion of the website you visit and the information you provide, this
                information could range from your name, address and ZIP code, which you
     3          provide in order to receive information from us about certain services, to specific
                health information that you provide to us on an admission form. Personal
     4
                information collected on our site is used only to allow us to fulfill your request
     5          for services. For instance, if you use our online physical system to locate a
                specialist in your area, we use the information you provide to put you in touch
     6          with a physician. Similarly, if you complete an admission form that you download
     7          from our site and submit it to us, we use the information contained in your
                admission form for the purposes of admitting you to CSHS and to thereafter
     8          providing the services your physician prescribes. Another example relates to our
                gift shop. We collect personal information from you in order to complete
     9          transactions you request The information you provide may be furnished to a third
    10          party in order to facilitate the transaction. Or, you may submit personal
                information to us in response to an employment opportunity. In each case, we use
    11          your personal information only for the purpose it is submitted to us, which may
                include providing it to third parties with whom we have relationships to deliver
    12          the information or services you request.29
    13   (Emphasis added.)
    14          81.     This was demonstrably untrue, given that Defendant routinely and automatically
    15   transmitted and continues to transmit patients’ data to third parties for marketing purposes. Such
    16   transmission is unnecessary to “fulfill [patients’] requests for services.”
    17          82.     Defendant’s Privacy Policy also states:
    18          We also do everything reasonably possible to protect user information we
                collect. All of our users’ information, not just the sensitive information, is
    19
                restricted in our offices. Only individuals who need the information to perform a
    20          specific job are granted access to personal information. Access to this information
                is password protected. Furthermore, all personnel having access to your personal
    21          information are kept up-to-date on our security and privacy practices.30
    22
                83.     Again, this was demonstrably false given the extent to which Defendant has
    23
         unnecessarily shared patient communications with third parties.
    24
                 84.     As to cookies, Defendant’s Privacy Policy states:
    25
    26
    27   29
                Id.
         30
    28          Id.


                                                         - 18 -
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 22 of 100 Page ID #:36




                We may place small data files, called “cookies,” in your browser’s file storage
     1
                area of your computer’s hard drive. Cookies are a standard Internet technology
     2          that allow us to both store and retrieve login information on a user’s system. A
                cookie is a small text file that is stored on a site visitor’s computer to gather and
     3          keep track of information related to you. These cookies automatically identify
                your browser to our server whenever you interact with a service provided on our
     4
                website. Cookies can store your preferences through a password you select to
     5          access a web site. Cookies also help us review website traffic patterns and
                improve our site. Most browsers automatically accept these cookies, but you
     6          usually can change your browser setting to prevent the acceptance of cookies, but
     7          this may prevent you from using some of the features of our website. Information
                collected through cookies is not linked to any personally identifiable
     8          information.31
     9          85.     This is not true given that some of the cookies relating to tracking code on
    10   Defendant’s Website can be linked to individual identities.
    11           86.     As to log files, the Privacy Policy states:
    12          We collect and log IP addresses in order to analyze site visitation trends and
                administer the website. An IP address is a number automatically assigned to your
    13
                computer whenever you access the Internet. IP addresses allow computers and
    14          servers to recognize and communicate with one another. IP address information
                allows us to properly administer our system and gather aggregate information on
    15          visitors to our website help diagnose problems with our servers, and how our site
    16          is being used, including the pages visitors are viewing in the aggregate. This
                aggregate information may be shared with third parties, such as our physicians,
    17          our suppliers and other businesses. To maintain your anonymity, we do not
                associate IP addresses with records containing personal information. In other
    18          words, IP addresses are not linked to personally identifiable information. 32
    19
                87.     The foregoing promises of confidentiality and anonymity were false and
    20
         misleading given Defendant’s incorporation into its website of code that shared patients’
    21
         communications with Meta and other third parties. However, they gave Class members a
    22
         reasonable expectation of privacy.
    23
                        2.     Meta’s Policies
    24
               88.      Meta’s own policies were another source of assurance to Class members that
    25
         Cedars-Sinai would not be sharing their data and another clear warning to Defendant that it
    26
    27   31
                Id. (Emphasis added.)
         32
    28          Id. (Emphasis added.)


                                                        - 19 -
                                              CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 23 of 100 Page ID #:37




     1   should not have shared its patients’ data as it did. To begin, Meta’s privacy policy states that
     2   “[w]e require Partners [e.g., advertisers, like Cedars-Sinai, who send Meta information through
     3   Meta Business Tools] to have the right to collect, use and share your information before giving it
     4   to us.”33
     5          89.      In addition, Meta’s contract with businesses that, like Cedars-Sinai, use its
     6   Business Tools, including the Pixel, requires that such businesses “represent and warrant that
     7   [they] (and any data provider that [they] may use) have all of the necessary rights and
     8   permissions and a lawful basis (in compliance with all applicable laws, regulations and industry
     9   guidelines) for the disclosure and use of Business Tool Data.”34 Here, for the reasons discussed
    10   herein, Cedars-Sinai did not have the necessary legal rights and permissions to share the patient
    11   data that it did.
    12          90.      The Facebook Business Tool Terms also provide, at Section 1(h), “You will not
    13   share Business Tool Data with us that you know or reasonably should know is from or about
    14   children under the age of 13 or that includes health, financial information or other categories of
    15   sensitive information.” Of course, Defendant did just that.
    16          91.      In addition, the Facebook Business Tool Terms requires of businesses like
    17   Cedars-Sinai to:
    18           [R]epresent and warrant that you have provided robust and sufficiently prominent
                 notice to users regarding the Business Tool Data collection, sharing and usage
    19           that includes, at a minimum: i. For websites, a clear and prominent notice on each
    20           web page where our pixels are used that links to a clear explanation (a) that third
                 parties, including Facebook, may use cookies, web beacons, and other storage
    21           technologies to collect or receive information from your websites and elsewhere
                 on the Internet and use that information to provide measurement services and
    22           target ads.
    23
    24
    25
         33
                 Meta, PRIVACY POLICY, https://mbasic.facebook.com/privacy/policy/printable/ (last
    26   visited Dec. 29, 2022).
         34
                 Facebook,       FACEBOOK     BUSINESS      TOOLS    TERMS,     Section      1(e),
    27
         https://www.facebook.com/legal/businesstech?paipv=0&eav=Afb8lVB3IDvB3rFEMJQmgdaS2i
    28   OzEGlLXfl8Q71xM21q28VqYCBGQeF3XUqAnbXgoGU&_rdr (last visited Dec. 29, 2022).


                                                       - 20 -
                                            CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 24 of 100 Page ID #:38




     1          92.        Cedars-Sinai did not give “robust” or “sufficiently prominent” notice that it would
     2   be using cookies or tracking code to share patients’ Private Information with third parties,
     3   including Facebook, for marketing purposes.
     4          93.        The various statements on Meta’s website was one of the reasons that Class
     5   members had a strong expectation that the information they provided to Cedars-Sinai would not
     6   be provided to Facebook.
     7          94.        The above policies are part of Meta’s contract with Cedars-Sinai. Class members
     8   are the intended third party beneficiaries of this contract.
     9                     3.     Google’s Policies Provided Additional Assurance of Confidentiality
    10           95.       Google’s Privacy Disclosure Statement is yet another reason that Defendant knew
    11   or should have known that its sharing data was improper.
    12           96.       The Google Privacy Disclosure Policy provides:
    13           When you use Google Analytics on your site or application, you must disclose the
    14           use of Google Analytics and how it collects and processes data.35

    15           97.       Defendant does not expressly mention “Google Analytics” on its website or make
    16   proper disclosure of the data that Defendant provides to Google through coding, and what that
    17   data is used for.
    18           98.       Google’s rules for advertisers also provide:
    19           We understand that users don’t want to see ads that exploit their personal
    20           struggles, difficulties, and hardships, so we don’t allow personalized advertising
                 based on these hardships. Such personal hardships include health conditions,
    21           treatments, procedures, personal failings, struggles, or traumatic personal
                 experiences. You also can’t impose negativity on the user.36
    22
    23           99.       Google’s rules for advertisers further state that the following should not be used

    24   in advertising:

    25
         35
                  Google,                PRIVACY                 DISCLOSURES                    POLICY,
    26   https://support.google.com/analytics/answer/7318509?hl=en#:~:text=When%20you%20use%20
         Google%20Analytics,Safeguarding%20your%20data (last visited Dec. 29, 2022).
    27   36
                  Google,     ADVERTISING       POLICIES    HELP,     PERSONALIZED         ADVERTISING
    28   https://support.google.com/adspolicy/answer/143465?hl=en (last visited Dec. 29, 2022).


                                                          - 21 -
                                               CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 25 of 100 Page ID #:39




                Personal health content, which includes:
     1
     2                      Physical or mental health conditions, including diseases, sexual health,
                             and chronic health conditions, which are health conditions that require
     3                       long-term care or management.
                            Products, services, or procedures to treat or manage chronic health
     4
                             conditions, which includes over-the-counter medications and medical
     5                       devices.
                            Any health issues associated with intimate body parts or functions,
     6                       which includes genital, bowel, or urinary health.
     7                      Invasive medical procedures, which includes cosmetic surgery.
                            Disabilities, even when content is oriented toward the user’s primary
     8                       caretaker.
                                  Examples: Treatments for chronic health conditions like
     9                              diabetes or arthritis, treatments for sexually transmitted
    10                              diseases, counseling services for mental health issues like
                                    depression or anxiety, medical devices for sleep apnea like
    11                              CPAP machines, over-the-counter medications for yeast
                                    infections, information about how to support your autistic
    12                              child[.]37
    13          100.    Google’s policies in this regard are indicative of a broader general public policy
    14   against using medical information for advertising, and are another reason that Plaintiff and Class
    15   members would reasonably expect Defendant to maintain the privacy of their information. Of
    16   course, if Defendant did not intend to advertise to patients based on their having health
    17   conditions that cause them to be patients, it would have had no reason to include Google
    18   Analytics on its Website at all.
    19                  4.      Federal Warning on Tracking Codes on Healthcare Websites.
    20          101.    Beyond Defendant’s own policies, and those of Meta and Google, the government
    21   has issued guidance warning that tracking code like Meta Pixel and Google Analytics may come
    22   up against federal privacy law when installed on healthcare websites. The statement, titled USE
    23   OF ONLINE TRACKING TECHNOLOGIES BY HIPAA COVERED ENTITIES AND BUSINESS ASSOCIATES

    24
    25
    26
    27
         37
    28          Id.


                                                        - 22 -
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 26 of 100 Page ID #:40




     1   (the “Bulletin”), was recently issued by the Department of Health and Human Services’ Office
     2   for Civil Rights (“OCR”).38
     3           102.   Healthcare organizations regulated under the Health Insurance Portability and
     4   Accountability Act (HIPAA) may use third-party tracking tools, such as Google Analytics or
     5   Meta Pixel, in a limited way, to perform analysis on data key to operations. They are not
     6   permitted, however, to use these tools in a way that may expose patients’ protected health
     7   information to these vendors. The Bulletin explains:
     8          Regulated entities [those to which HIPAA applies] are not permitted to use
                tracking technologies in a manner that would result in impermissible
     9          disclosures of PHI to tracking technology vendors or any other violations of the
    10          HIPAA Rules. For example, disclosures of PHI to tracking technology vendors
                for marketing purposes, without individuals’ HIPAA-compliant authorizations,
    11          would constitute impermissible disclosures.39
    12           103.   The bulletin discusses the types of harm that disclosure may cause to the patient:
    13          An impermissible disclosure of an individual’s PHI not only violates the Privacy
                Rule but also may result in a wide range of additional harms to the individual or
    14
                others. For example, an impermissible disclosure of PHI may result in identity
    15          theft, financial loss, discrimination, stigma, mental anguish, or other serious
                negative consequences to the reputation, health, or physical safety of the
    16          individual or to others identified in the individual’s PHI. Such disclosures can
    17          reveal incredibly sensitive information about an individual, including diagnoses,
                frequency of visits to a therapist or other health care professionals, and where
    18          an individual seeks medical treatment. While it has always been true that
                regulated entities may not impermissibly disclose PHI to tracking technology
    19          vendors, because of the proliferation of tracking technologies collecting
    20          sensitive information, now more than ever, it is critical for regulated entities to
                ensure that they disclose PHI only as expressly permitted or required by the
    21          HIPAA Privacy Rule.40
    22           104.   Plaintiff and Class members face just the risks about which the government
    23   expresses concern. Defendant has passed along Plaintiff’s and Class members’ search terms
    24   about health conditions for which they seek doctors; their contacting of doctors to make
    25
         38
                 HHS.gov, USE OF ONLINE TRACKING TECHNOLOGIES BY HIPAA COVERED ENTITIES AND
    26   BUSINESS ASSOCIATES, https://www.hhs.gov/hipaa/for-professionals/privacy/guidance/hipaa-
         online-tracking/index.html (last visited Dec. 29, 2022).
    27   39
                 Id. (Emphasis added.)
         40
    28           Id. (Emphasis added.)


                                                      - 23 -
                                           CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 27 of 100 Page ID #:41




     1   appointments; the names of their doctors; the frequency with which they take steps relating to
     2   obtaining healthcare for certain conditions; and where they seek medical treatment. This
     3   information is, as described by the OCR in its bulletin, “highly sensitive.”
     4           105.    The Bulletin goes on to make clear how broad the government’s view of
     5   protected information is. It explains:
     6          This information might include an individual’s medical record number, home or
                email address, or dates of appointments, as well as an individual’s IP address or
     7          geographic location, medical device IDs, or any unique identifying code.41
     8
                 106.    Crucially, that paragraph in the government’s Bulletin continues:
     9
                All such [individually identifiable health information (“IIHI”)] collected on a
    10          regulated entity’s website or mobile app generally is PHI, even if the individual
                does not have an existing relationship with the regulated entity and even if the
    11          IIHI, such as IP address or geographic location, does not include specific
                treatment or billing information like dates and types of health care
    12
                services. This is because, when a regulated entity collects the individual’s IIHI
    13          through its website or mobile app, the information connects the individual to
                the regulated entity (i.e., it is indicative that the individual has received or will
    14          receive health care services or benefits from the covered entity), and thus relates
    15          to the individual’s past, present, or future health or health care or payment for
                care.42
    16
                107.     This is further evidence that the data that Defendant chose to share is protected
    17
         Personal Information. The sharing of that information was a violation of Class members’ rights.
    18
                        5.      Defendant’s Violation of HIPAA
    19
                108.    Defendant’s disclosure of Plaintiff’s and Class members’ Private Information to
    20
         entities like Facebook and Google also violated HIPAA. HIPAA provided Plaintiff and Class
    21
         members with another reason to believe that the information they communicated to Defendant
    22
         through its Website would be protected, rather than shared with third-parties for marketing
    23
         purposes. Moreover, Defendant’s violation of HIPAA is a violation of law that forms the one of
    24
         the bases of its violation of California’s Unfair Competition Law, Bus. & Prof. Code § 17200, et
    25
         seq.
    26
    27   41
                Id. (Emphasis added.)
         42
    28          Id. (Emphasis added.)


                                                        - 24 -
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 28 of 100 Page ID #:42




     1          109.    HIPAA’s Privacy Rule defines “individually identifiable health information” as
     2   “a subset of health information, including demographic information collected from an
     3   individual” that is (1) “created or received by a health care provider;” (2) “[r]elates to the past,
     4   present, or future physical or mental health or condition of an individual; the provision of health
     5   care to an individual; or the past, present, or future payment for the provision of health care to an
     6   individual;” and either (i) “identifies the individual;” or (ii) “[w]ith respect to which there is a
     7   reasonable basis to believe the information can be used to identify the individual.” 45 C.F.R. §
     8   160.103.
     9          110.    HIPAA prohibits health care providers from “us[ing] or disclos[ing] ‘protected
    10   health information’ except as permitted or required by” the HIPAA Privacy Rule. 45 C.F.R. §
    11   164.502.
    12          111.    “A covered entity may determine that health information is not individually
    13   identifiable health information only if” either “a person with appropriate knowledge of and
    14   experience with generally accepted statistical and scientific methods for rendering information
    15   not individually identifiable: a) applying such principles” determines that the risk is “very small”
    16   that the information could be used alone, or in combination with other information, to identify
    17   individuals, and documents the methods that justifies such a determination, or identifiers are
    18   removed that include: Internet Protocol (IP) address numbers; account numbers; URLs, device
    19   identifiers, and “any other unique identifying number, characteristic or code,” except codes
    20   assigned by the healthcare organization to allow itself to reidentify information from which it has
    21   removed identifying information.
    22          112.    Even the fact that an individual is receiving a medical service, i.e., is a patient of a
    23   particular entity, can be Protected Health Information. The Department of Health and Human
    24   Services has instructed health care providers that, while identifying information alone is not
    25   necessarily PHI if it were part of a public source such as a phonebook because it is not related to
    26   health data:
    27
    28


                                                         - 25 -
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 29 of 100 Page ID #:43




                 If such information was listed with health condition, health care provision or
     1
                 payment data, such as an indication that the individual was treated at a certain
     2           clinic, then this information would be PHI.43

     3           113.     Consistent with this restriction, the HHS has issued marketing guidance that
     4   provides that:
     5           With limited exceptions, the [Privacy] Rule requires an individual’s written
                 authorization before a use or disclosure of his or her protected health information
     6           can be made for marketing. … Simply put, a covered entity may not sell protected
     7           health information to a business associate or any other third party for that party’s
                 own purposes. Moreover, covered entities may not sell lists of patients to third
     8           parties without obtaining authorization from each person on the list.44
     9           114.     Here, Defendant provided patient information to third parties in violation of this
    10   rule.
    11           115.     Commenting on a June 2022 report discussing the use of the Meta Pixel by
    12   hospitals and medical centers, David Holtzman, a health privacy consultant and a former senior
    13   privacy adviser in HHS OCR, which enforces HIPAA, stated, “I am deeply troubled by what [the
    14   hospitals] are doing with the capture of their data and the sharing of it … It is quite likely a
    15   HIPAA violation.”45
    16           116.     Defendant’s placing of the third-party tracking code on its Website is a violation
    17   of Class members’ privacy rights under federal law. While Plaintiff does not bring a claim under
    18   HIPAA itself, this violation evidences Defendant’s wrongdoing as relevant to other claims.
    19           E.       Plaintiff’s and Class Members’ Private Information Had Financial Value
    20           117.     Plaintiff’s private data has economic value. Indeed, Meta’s, Google’s and others’
    21   practices of using such information to package groups of people as “Lookalike Audiences” and
    22
    23   43
                HHS.gov, GUIDANCE REGARDING METHODS FOR DE-IDENTIFICATION OF PROTECTED
         HEALTH INFORMATION IN ACCORDANCE WITH THE HEALTH INSURANCE PORTABILITY AND
    24
         ACCOUNTABILITY       ACT      (HIPAA)      PRIVACY       RULE,     https://www.hhs.gov/hipaa/for-
    25   professionals/privacy/special-topics/de-identification/index.html (last visited Dec. 29, 2022).
         44
                HHS.gov,                     MARKETING,                     https://www.hhs.gov/hipaa/for-
    26   professionals/privacy/guidance/marketing/index.html (last visited Dec. 29, 2022).
         45
                Advisory Board, 'DEEPLY TROUBLED': SECURITY EXPERTS WORRY ABOUT FACEBOOK
    27
         TRACKERS ON HOSPITAL SITES, https://www.advisory.com/daily-briefing/2022/06/17/data-trackers
    28   (emphasis added) (last visited Dec. 29, 2022).


                                                        - 26 -
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 30 of 100 Page ID #:44




     1   similar groups and selling those packages to advertising clients demonstrates the financial worth
     2   of that data.
     3           118.    Data harvesting is the fastest growing industry in the nation. As software, data
     4   mining, and targeting technologies have advanced, the revenue from digital ads and the
     5   consequent value of the data used to target them have risen rapidly.
     6           119.    Consumer data is so valuable that some have proclaimed that data is the new oil.
     7   Between 2016 and 2018, the value of information mined from Americans increased by 85% for
     8   Facebook and 40% for Google. Overall, the value internet companies derive from Americans’
     9   personal data increased almost 54%. Conservative estimates suggest that in 2018, Internet
    10   companies earned $202 per American user. In 2022, that value is expected to be $200 billion
    11   industry wide, or $434 per user, also a conservative estimate.
    12           120.    As to health data specifically, as detailed in an article in Canada’s National Post:
    13           As part of the multibillion-dollar worldwide data brokerage industry, health data
                 is one of the most sought-after commodities. De-identified data can be re
    14           identified (citing https://www.nature.com/articles/s41467-019-10933-3/ ) and
    15           brazen decisions to release records with identifiable information
                 (citing https://www.wsj.com/articles/hospitals-give-tech-giants-access-to-
    16           detailed-medical-records-11579516200?mod=hp_lista_pos3 )          are    becoming
                                  46
                 commonplace).
    17
    18           121.    Further demonstrating the financial value of Class members’ medical data, CNBC

    19   has reported that hospital executives have received a growing number of bids for user data:
                 Hospitals, many of which are increasingly in dire financial straits, are weighing a
    20
                 lucrative new opportunity: selling patient health information to tech companies.
    21           Aaron Miri is chief information officer at Dell Medical School and University of
    22           Texas Health in Austin, so he gets plenty of tech start-ups approaching him to
                 pitch deals and partnerships. Five years ago, he’d get about one pitch per quarter.
    23           But these days, with huge data-driven players like Amazon and Google making
                 incursions into the health space, and venture money flooding into Silicon Valley
    24           start-ups aiming to bring machine learning to health care, the cadence is far more
    25           frequent.

    26
         46
                 National Post, IRIS KULBATSKI: THE DANGERS OF ELECTRONIC HEALTH RECORDS,
    27
         February 26, 2020, https://nationalpost.com/opinion/iris-kulbatski-the-dangers-of-electronic-
    28   health-records (last visited Dec. 29, 2022).


                                                         - 27 -
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 31 of 100 Page ID #:45




                “It’s all the time,” he said via phone. “Often, once a day or more.”
     1
                                                  *    *      *
     2
                 [H]ealth systems administrators say [the data] could also be used in unintended
     3          or harmful ways, like being cross-referenced with other data to identify
                individuals at higher risk of diseases and then raise their health premiums, or to
     4          target advertising to individuals.47
     5
                122.    The CNBC article also explained:
     6
                De-identified patient data has become its own small economy: There’s a whole
     7          market of brokers who compile the data from providers and other health-care
     8          organizations and sell it to buyers. Just one company alone, IQVIA, said on its
                website that it has access to more than 600 million patient records globally that
     9          are nonidentified, much of which it accesses through provider organizations. The
                buyers, which include pharma marketers, will often use it for things like clinical
    10
                trial recruiting
    11          But hospital execs worry that this data may be used in unintended ways, and not
    12          always in the patient’s best interest.
                                                  *    *      *
    13
                Tech companies are also under particular scrutiny because they already have
    14          access to a massive trove of information about people, which they use to serve
                their own needs. For instance, the health data Google collects could eventually
    15
                help it micro-target advertisements to people with particular health
    16          conditions. Policymakers are proactively calling for a revision and potential
                upgrade of the health privacy rules known as HIPAA, out of concern for what
    17          might happen as tech companies continue to march into the medical sector.48
    18
                123.    Time Magazine similarly, in an article titled, HOW YOUR MEDICAL DATA FUELS A
    19
         HIDDEN MULTI-BILLION DOLLAR INDUSTRY, referenced the “growth of the big health data
    20
         bazaar,” in which patients’ health information is sold. It reported that:
    21
                [T]the secondary market in information unrelated to a patient’s direct treatment
    22          poses growing risks, privacy experts say. That’s because clues in anonymized
                patient dossiers make it possible for outsiders to determine your identity,
    23          especially as computing power advances in the future.49
    24
         47
    25            CNBC, HOSPITAL EXECS SAY THEY ARE GETTING FLOODED WITH REQUESTS FOR YOUR
         HEALTH       DATA,   https://www.cnbc.com/2019/12/18/hospital-execs-say-theyre-flooded-with-
    26   requests-for-your-health-data.html (last visited Dec. 29, 2022).
         48
                  Id.
    27   49
                  Time, HOW YOUR MEDICAL DATA FUELS A HIDDEN MULTI-BILLION DOLLAR INDUSTRY,
    28   https://time.com/4588104/medical-data-industry/ (last visited Dec. 29, 2022).


                                                           - 28 -
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 32 of 100 Page ID #:46




     1          124.       Cedars-Sinai gave away Plaintiff’s and Class members’ communications and
     2   transactions on its Website without permission. The unauthorized access to Plaintiff’s and Class
     3   members’ private and Personal Information has diminished the value of that information,
     4   resulting in harm to Defendant’s Website users.
     5   V.     CLASS ACTION ALLEGATIONS
     6          125.       Plaintiff brings this action on his own behalf and as a class action, pursuant to
     7   California Code of Civil Procedure Section 382, on behalf of the following class:
     8          All persons residing in California who used Defendant’s Website at any time
                when tracking code able to share data for marketing or website analytics purposes
     9          was present.
    10
                126.       This action is properly maintainable as a class action.
    11
                127.       Plaintiff reserves the right under California Rules of Court, rule 3.765 to modify
    12
         or amend the definition of the proposed Class before the Court determines whether certification
    13
         is appropriate.
    14
                128.       Numerosity: The Class is so numerous that joinder of all members would be
    15
         impracticable. While Plaintiff does not know the exact number of Class members, Cedars-Sinai
    16
         represents that it sees over 1 million patients per year, and on, information and belief, a
    17
         significant proportion of those patients use Defendant’s Website.
    18
                129.       Commonality and Predominance: Common questions of law and fact exist as to
    19
         all members of the Class and predominate over any questions affecting solely individual
    20
         members of the Class. Among the questions of law and fact common to the Class that
    21
         predominate over questions which may affect individual Class members, are the following:
    22
                                 Whether Defendant had a duty not to share the PHI/PII of Plaintiff and
    23
                                  Class members with unauthorized third parties;
    24
                                 Whether Defendant had a duty not to use the PHI/PII of Plaintiff and Class
    25
                                  members for non-healthcare purposes;
    26
                                 Whether information that Defendant shared with third parties like Meta
    27
                                  constituted PHI and/or PII;
    28


                                                          - 29 -
                                               CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 33 of 100 Page ID #:47




     1                        Whether Defendant disclosed to Plaintiff and Class members that their
     2                         PHI/PII would be shared with third parties unrelated to services that they
     3                         specifically requested;
     4                        Whether Defendant engaged in unfair, unlawful, or deceptive acts or
     5                         practices by sharing the PHI/PII of Plaintiff and Class members with
     6                         unrelated third parties such as Meta;
     7                        Whether Plaintiff and Class members are entitled to actual damages,
     8                         statutory damages, and/or nominal damages as a result of Defendant’s
     9                         wrongful conduct;
    10                        Whether Plaintiff and Class members are entitled to injunctive relief to
    11                         redress the imminent and currently ongoing harm faced as a result of the
    12                         Defendant’s sharing of their PHI/PII with unrelated third parties such as
    13                         Meta;
    14                        Whether Defendant’s disclosure of Plaintiff’s and Class members’ PHI/PII
    15                         constituted an intrusion upon seclusion;
    16                        Whether Defendant’s disclosure of Plaintiff’s and Class members’ PHI/PII
    17                         was unfair, deceptive and/or unlawful and thus a violation of California’s
    18                         statutory prohibition of unfair competition.
    19                        Whether and the extent to which Defendant’s conduct harmed Plaintiff
    20                         and Class members.
    21          130.    Typicality: Plaintiff’s claims are typical of those of the other members of the
    22   Class because Plaintiff, like every other member, was exposed to virtually identical conduct and
    23   now suffers from the same violations of the law as other members of the Class.
    24          131.    Policies Generally Applicable to the Class: This class action is also appropriate
    25   for certification because Defendant acted or refused to act on grounds generally applicable to the
    26   Class, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards
    27   of conduct toward the Class members and making final injunctive relief appropriate. Defendant’s
    28   policies and practices challenged herein apply to and affect Class members uniformly and


                                                         - 30 -
                                            CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 34 of 100 Page ID #:48




     1   Plaintiff’s challenge of these policies and practices hinges on Defendant’s conduct with respect
     2   to the Class as a whole, not on facts or law applicable only to Plaintiff.
     3          132.    Adequacy: Plaintiff will fairly and adequately represent and protect the interests
     4   of the Class members in that he has no disabling conflicts of interest that would be antagonistic
     5   to those of the other Class members. Plaintiff seeks no relief that is antagonistic or adverse to the
     6   Class members and the infringement of the rights and the damages they have suffered are typical
     7   of other Class members. Plaintiff has retained counsel experienced in complex class action
     8   litigation, and Plaintiff intends to prosecute this action vigorously.
     9          133.    Superiority and Manageability: Class litigation is an appropriate method for fair
    10   and efficient adjudication of the claims involved. Class action treatment is superior to all other
    11   available methods for the fair and efficient adjudication of the controversy alleged herein; it will
    12   permit a large number of Class members to prosecute their common claims in a single forum
    13   simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, and
    14   expense that hundreds of individual actions would require. Class action treatment will permit the
    15   adjudication of relatively modest claims by certain Class members, who could not individually
    16   afford to litigate a complex claim against a large corporation, like Defendant. Further, even for
    17   those Class members who could afford to litigate such a claim, it would still be economically
    18   impractical and impose a burden on the courts.
    19          134.    The nature of this action and the nature of laws available to Plaintiff and Class
    20   members make the use of the class action device a particularly efficient and appropriate
    21   procedure to afford relief to Plaintiff and Class members for the wrongs alleged because
    22   Defendant would necessarily gain an unconscionable advantage since it would be able to exploit
    23   and overwhelm the limited resources of each individual Class member with superior financial
    24   and legal resources; the costs of individual suits could unreasonably consume the amounts that
    25   would be recovered; proof of a common course of conduct to which Plaintiff was exposed is
    26   representative of that experienced by the Class and will establish the right of each Class Member
    27   to recover on the causes of action alleged; and individual actions would create a risk of
    28   inconsistent results and would be unnecessary and duplicative of this litigation.


                                                         - 31 -
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 35 of 100 Page ID #:49




     1          135.    The litigation of the claims brought herein is manageable. Defendant’s uniform
     2   conduct, the consistent provisions of the relevant laws, and the ascertainable identities of Class
     3   members demonstrates that there would be no significant manageability problems with
     4   prosecuting this lawsuit as a class action.
     5          136.    Adequate notice can be given to Class members directly using information
     6   maintained in Defendant’s records.
     7          137.    Unless a Class-wide injunction is issued, Defendant may continue to illegally
     8   provide the PHI/PII of its patients to unrelated third parties.
     9          138.    The prosecution of separate actions by individual members of the Class would
    10   create the risk of inconsistent or varying adjudications and would establish incompatible
    11   standards of conduct for the Defendant. The Defendant has acted, or has refused to act, on
    12   grounds generally applicable to the Class, making final injunctive relief on behalf of the Class as
    13   a whole appropriate.
    14          139.    Questions of law and fact common to the members of the Class predominate over
    15   any questions affecting any individual member, and a class action is superior to all other
    16   available methods for the fair and efficient adjudication of the controversy.
    17   VI.    CAUSES OF ACTION
                                           FIRST CAUSE OF ACTION
    18
                                Violation of the California Invasion of Privacy Act
    19                           (Cal. Penal Code §§ 630, 631, et seq. (“CIPA”))

    20          140.    Plaintiff incorporates the foregoing allegations as if fully set forth herein.
    21          141.    California’s Invasion of Privacy Act, California Penal Code 631(a) provides a
    22   remedy against, inter alia:
    23          Any person who … intentionally taps, or makes any unauthorized connection,
                whether physically, electrically, …, or otherwise, with any telegraph or telephone
    24          wire, line, cable, or instrument … or who willfully and without the consent of all
    25          parties to the communication, or in any unauthorized manner, reads, or
                attempts to read, or to learn the contents or meaning of any message, report, or
    26          communication while the same is in transit or passing over any wire, line, or
                cable, or is being sent from, or received at any place within this state; or who
    27
                uses, or attempts to use, in any manner, or for any purpose, or to communicate in
    28          any way, any information so obtained, or who aids, agrees with, employs, or


                                                         - 32 -
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 36 of 100 Page ID #:50




                 conspires with any person or persons to unlawfully do, or permit, or cause to be
     1
                 done any of the acts or things mentioned above in this section,
     2
                 142.   Defendant is a person for the purposes of this law.
     3
                 143.   Here, Defendant “intentionally tap[ped] … or ma[de] [an] unauthorized
     4
         connection” with respect to Class members’ communications by placing third party tracking
     5
         code on its Website, without “the consent of all parties” including Plaintiff, and thereby violated
     6
         CIPA.
     7
                 144.   Defendant also “aid[ed], agree[d] with, employ[d], or conspire[d] with” Meta,
     8
         Google, and other third parties providing marketing services by placing their third-party tracking
     9
         code on its Website, and allowing such entities; to “tap” communications on its website without
    10
         “the consent of all parties” including Plaintiff, and thereby violated CIPA.
    11
                 145.   Defendant facilitated the interception and simultaneous transmission to Meta,
    12
         Google, and others of Plaintiff’s and other Class members’ PII and PHI while the information
    13
         was “in transit.” As a patients typed communications into Defendant’s website, as a result of the
    14
         Meta Pixel and other tracking codes that Defendant placed there, their requests were
    15
         simultaneously redirected to Facebook while they were still on their way to Defendant.
    16
                 146.   The information communicated between patients and Cedars-Sinai, a Los Angeles
    17
         healthcare system, was transmitted to or from the state of California. The information was
    18
         wiretapped “while the same is in transit or passing over any wire, line, or cable, or is being
    19
         sent from, or received at any place within this state.”
    20
                 147.   Redirection of data as a result of tracker coding before that data reaches its
    21
         originally intended recipient (here, Cedars-Sinai) does not constitute a separate communication
    22
         for the purposes of exclusion from CIPA coverage.
    23
                 148.   Cedars-Sinai enabled non-parties to the communications to “read” the
    24
         communications for the purposes of the statute. For example, Meta could see which individual
    25
         searched for doctors with particular specialties, what conditions they researched, and when and
    26
         where they made appointments.
    27
    28


                                                        - 33 -
                                            CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 37 of 100 Page ID #:51




     1           149.    Cedars-Sinai facilitated this communication “without authorization” of Class
     2   members because it did not give Class members any hint that the transmission was happening.
     3   Indeed, Cedars-Sinai’s own privacy policy stated that “personal information” would only be used
     4   “for the purpose it is submitted to us, which may include providing it to third parties with whom
     5   we have relationships to deliver the information or services you request.”50 (Emphasis added.)
     6   Class members did not request that Defendant and third parties target them with advertising that
     7   might be related to their health conditions.
     8            150.    Cal. Penal Code § 637.2(a) provides:
     9           Any person who has been injured by a violation of this chapter [including Penal
                 Code §§ 630 and 631] may bring an action against the person who committed the
    10           violation for the greater of the following amounts:
    11
                         (1)     Five thousand dollars ($5,000) per violation.
    12                   (2)     Three times the amount of actual damages, if any, sustained by the
                         plaintiff.
    13
                  151.    Cal. Penal Code § 637.2(b) provides that “[a]ny person may . . . bring an action
    14
          to enjoin and restrain any violation of this chapter, and may in the same action seek damages as
    15
          provided by subdivision (a).”
    16
                  152.    Cal. Penal Code § 637.2(c) provides, “It is not a necessary prerequisite to an
    17
          action pursuant to this section that the plaintiff has suffered, or be threatened with, actual
    18
          damages.”
    19
                  153.    Defendant is therefore liable to Plaintiff and the Class for, at a minimum,
    20
          statutory damages of $5,000 per violation, and Plaintiff and Class members are also entitled to
    21
          injunctive relief.
    22                                  SECOND CAUSE OF ACTION
                                Violation of the California Invasion of Privacy Act
    23
                                     (Cal. Penal Code § 632, et seq. (“CIPA”))
    24
                 154.    Plaintiff incorporates the foregoing allegations as if fully set forth herein.
    25
                 155.    Cal. Penal Code § 632 provides, in relevant part, that it is unlawful to
    26
         “intentionally and without the consent of all parties to a confidential communication,” “use[] [a]
    27
         50
    28           See https://www.cedars-sinai.org/privacy-policy.html (last visited Dec. 29, 2021).


                                                          - 34 -
                                              CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 38 of 100 Page ID #:52




     1   recording device to … record the confidential communication.” As used in the statute
     2   “‘confidential communication’ means any communication carried on in circumstances as may
     3   reasonably indicate that any party to the communication desires it to be confined to the parties
     4   thereto.”
     5          156.    The written transmission of information about Plaintiff’s and Class members’
     6   searches and clicks on its Website as described above is a recording of those communications.
     7   The code is a “recording device.”
     8          157.    Defendant did not have Plaintiff’s or other Class members’ consent to record their
     9   communications.
    10          158.    Cal. Penal Code § 637.2(a) provides:
    11          Any person who has been injured by a violation of this chapter [including Penal
                Code § 632] may bring an action against the person who committed the violation
    12          for the greater of the following amounts:
    13
                        (1)    Five thousand dollars ($5,000) per violation.
    14                  (2)    Three times the amount of actual damages, if any, sustained by the
                plaintiff.
    15
                 159.    Cal. Penal Code § 637.2(b) provides that “[a]ny person may . . . bring an action
    16
         to enjoin and restrain any violation of this chapter, and may in the same action seek damages as
    17
         provided by subdivision (a).”
    18
                 160.    Cal. Penal Code § 637.2(c) provides, “It is not a necessary prerequisite to an
    19
         action pursuant to this section that the plaintiff has suffered, or be threatened with, actual
    20
         damages.”
    21
                 161.    Defendant is therefore liable to Plaintiff and the Class for, at a minimum,
    22
         statutory damages of $5,000 per violation, and Plaintiff and Class members are also entitled to
    23
         injunctive relief.
    24                                 THIRD CAUSE OF ACTION
                               Invasion of Privacy/Intrusion upon Seclusion in
    25
              Violation of California Common Law and the California Constitution, Art. 1, § 1
    26
                162.    Plaintiff incorporates the foregoing allegations as if fully set forth herein.
    27
    28


                                                         - 35 -
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 39 of 100 Page ID #:53




     1          163.    Plaintiff and Class members have a legally protected privacy interest in the PHI
     2   and PII that they enter into Defendant’s Website and are entitled to the protection of their
     3   information and property against unauthorized access.
     4          164.    Plaintiff and Class members reasonably expected that their Private Information
     5   would be protected and secure from unauthorized parties, and that it would not be disclosed to
     6   any unauthorized parties or disclosed for any improper purpose.
     7          165.     Defendant unlawfully invaded the privacy rights of Plaintiff and Class members
     8   by: (a) disclosing their private, and personal information to unauthorized parties in a manner that
     9   is highly offensive to a reasonable person; and (b) disclosing their private and personal
    10   information to unauthorized parties without the informed and clear consent of Plaintiff and Class
    11   members, including but not limited to including the Meta Pixel and other tracking code on its
    12   Website that transfer information entered and records of actions taken by patients on Defendant’s
    13   Website to unrelated entities. This invasion into the privacy interest and seclusion of Plaintiff
    14   and Class members is serious and substantial.
    15          166.     In willfully sharing Plaintiff’s and Class members’ Personal Information,
    16   Defendant acted in reckless disregard of their privacy rights.
    17          167.     Defendant violated Plaintiff’s and Class members’ right to privacy under
    18   California law, including, but not limited to California common law and Article 1, Section 1 of
    19   the California Constitution and the California Consumer Privacy Act.
    20          168.     As a direct and proximate result of Defendant’s unlawful invasions of privacy,
    21   Plaintiff’s and Class members’ private, personal, and confidential information has been accessed
    22   or is at imminent risk of being accessed, and their reasonable expectations of privacy have been
    23   intruded upon and frustrated. Plaintiff and proposed Class members have suffered injuries as a
    24   result of Defendant’s unlawful invasions of privacy and are entitled to appropriate relief.
    25          169.     Plaintiff and Class members are entitled to injunctive relief as well as actual and
    26   punitive damages.
    27
    28


                                                         - 36 -
                                            CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 40 of 100 Page ID #:54




                                         FOURTH CAUSE OF ACTION
     1
                                          Breach of Implied Contract
     2
                170.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.
     3
                171.     Defendant offered use of its Website to Plaintiff and members of the Class. In
     4
         exchange, Defendant received benefits in the form of patients making appointments with
     5
         Defendant’s doctors, obtaining treatment at Defendant’s hospitals and/or other valuable
     6
         consideration, e.g., access to their private and personal data.
     7
                172.     Defendant acknowledged these benefits and accepted or retained them.
     8
                173.     In using Defendant’s Website, Plaintiff and Class members continually provide
     9
         Defendant with their valuable private and personal information.
    10
                174.     By providing that information, and upon Defendant’s acceptance of that
    11
         information, Plaintiff and Class members, on the one hand, and Defendant, on the other, entered
    12
         into implied contracts, separate and apart from Defendant’s terms of service, under which
    13
         Defendant agreed to and was obligated to take reasonable steps to secure and safeguard that
    14
         sensitive information.
    15
                175.     All parties understood that such security was essential to Defendant’s line of
    16
         business—the provision of medical information and services.
    17
                176.     Under those implied contracts, Defendant was obligated to provide Plaintiff and
    18
         Class members with a Website that was suitable for its intended purpose of exchanging sensitive
    19
         and other healthcare information rather than a Website that provided patient information to third
    20
         parties including Meta and that tracks its users’ personal data for commercial purposes.
    21
                177.     Without such implied contracts, Plaintiff and Class members would not have
    22
         used Defendant’s Website and would not have conferred benefits on Defendant.
    23
                178.     Plaintiff and Class members fully performed their obligations under these
    24
         implied contracts.
    25
                179.     As described throughout, Defendant did not take reasonable steps to safeguard
    26
         Plaintiff’s and Class members’ private information. In fact, Defendant willfully violated those
    27
         privacy interests by placing third party tracking code on its Website.
    28


                                                         - 37 -
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 41 of 100 Page ID #:55




     1          180.     Because Defendant failed to take reasonable steps to safeguard Plaintiff’s private
     2   information, Defendant breached its implied contracts with Plaintiff and Class members.
     3          181.     Accordingly, Plaintiff, on behalf of himself and Class members, seeks an order
     4   declaring that Defendant’s conduct constitutes breach of implied contract, and awarding them
     5   damages in an amount to be determined at trial.
                                        FIFTH CAUSE OF ACTION
     6
                               Breach of Contract – Third-Party Beneficiaries
     7          182.     Plaintiff incorporates the foregoing allegations as if set forth fully herein.
     8          183.     Defendant entered into an agreement (the “Facebook Business Tools
     9   Agreement”) with Meta when it placed the Pixel on its website.
    10          184.     The Facebook Business Tools Agreement is a valid and enforceable express
    11   contract between Defendant and Meta for the benefit of Defendant’s customers. Under the
    12   Facebook Business Tools Agreement, Defendant gave Meta access to its patients’ private
    13   information and in exchange Meta provided data analytic tools for use on Defendant’s Website.
    14          185.     In Connection with that Agreement, Defendant agreed to follow Meta’s policies,
    15   which require businesses, like Cedars-Sinai, that use its Business Tools, including the Pixel, to
    16   represent that they have the legal rights to share the data, that they will not disclose medical data,
    17   and that they will give “robust” and “sufficiently prominent” notice that they would be sharing
    18   patients’ Private Data, including medical data, with Meta for advertising purposes.
    19          186.     The above policies are part of Meta’s contract with Cedars-Sinai. Class members
    20   are the intended third party beneficiaries of this contract.
    21          187.     While Plaintiff and the Class are not parties to the Facebook Business Tools
    22   Agreement, given the purpose of and the services to be provided under the Facebook Business
    23   Tools Agreement, and the surrounding circumstances, including Defendant’s and Meta’s public
    24   statements about their duties to protect Private Information, Plaintiff and the Class are intended
    25   third party beneficiaries of the Facebook Business Tools Agreement.
    26          188.     The benefits that Plaintiff and the Class were to receive as intended third party
    27   beneficiaries of the Facebook Business Tools Agreement were not incidental to that Agreement.
    28


                                                         - 38 -
                                              CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 42 of 100 Page ID #:56




     1          189.      As a direct and proximate result of Defendant’s breaches of the Facebook
     2   Business Tools Agreement, Plaintiff and the Class, as intended third party beneficiaries of
     3   Facebook Business Tools Agreement, sustained actual losses and damages as described in detail
     4   above in an amount to be proven at trial.
     5                                  SIXTH CAUSE OF ACTION
     6                    Breach of Implied Covenant of Good Faith and Fair Dealing

     7          190.      Plaintiff incorporates the foregoing allegations as if fully set forth here.
     8          191.      There is a covenant of good faith and fair dealing implied in every implied
     9   contract. This implied covenant requires each contracting party to refrain from doing anything to
    10   injure the right of the other to receive the benefits of the agreement. To fulfill its covenant, a
    11   party must give at least as much consideration to the interests of the other party as it gives to its
    12   own interests.
    13          192.      Under the implied covenant of good faith and fair dealing, Defendant is
    14   obligated to, at a minimum: (a) implement proper procedures to safeguard the PHI and PII of
    15   Plaintiff and other Class members; (b) refrain from disclosing, without authorization or consent,
    16   the PHI and PII of Plaintiff and other Class members to any third parties; and (c) and promptly
    17   and accurately notify Plaintiff and other Class members of any unauthorized disclosure of, access
    18   to, and use of their Private Information.
    19          193.      Defendant breached the implied covenant of good faith and fair dealing by,
    20   among other things:
    21                disclosing Plaintiff’s and other Class members’ Private Information to unauthorized
    22                 outside entities, including Facebook and Google;
    23                allowing outside entities to access the Private Information of Plaintiff and other
    24                 Class members;
    25                failing to implement and maintain adequate security measures to safeguard users’
    26                 Private Information; and
    27                failing to timely notify Plaintiff and other Class members of the unlawful
    28                 disclosure of their Private Information;


                                                          - 39 -
                                              CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 43 of 100 Page ID #:57




     1          194.    As a direct and proximate result of Defendant’s breaches of the implied covenant
     2   of good faith and fair dealing, Plaintiff and other Class members have suffered actual losses and
     3   damages in an amount to be determined at trial.
     4                                 SEVENTH CAUSE OF ACTION
     5                                        Negligence

     6          195.    Plaintiff incorporates the foregoing allegations as if fully set forth herein.
     7          196.    Defendant offered its Website to Plaintiff and Class members with full
     8   knowledge of the purposes for which the Website was being used, as well as the highly sensitive
     9   nature of the information the Website involved.
    10          197.    Defendant owed a duty to Plaintiff and Class members arising from the
    11   sensitivity of Plaintiff’s and Class members’ information, and the privacy rights the Website was
    12   supposed to secure and protect, to exercise reasonable care in safeguarding such information and
    13   privacy rights. Defendant’s duties included refraining from sharing patients’ sensitive PII and
    14   PHI with unauthorized parties without users’ informed and clear consent.
    15          198.    Defendant breached its duties by, among other things, knowingly placing code
    16   on its Website that would divert customers’ Private Information to outside entities including
    17   Meta for analytics and marketing purposes without adequate disclosure to and consent from its
    18   customers.
    19          199.    Defendant’s misconduct is inconsistent with industry regulations and standards.
    20          200.    But for Defendant’s breaches of its duties, Plaintiff’s and Class members’ PII
    21   and PHI would have been protected from unauthorized access and would not have been
    22   compromised or obtained by third parties without consent.
    23          201.    Plaintiff and Class members were foreseeable victims of Defendant’s wrongful
    24   conduct complained of herein. Defendant knew or should have known that its enabling of third-
    25   party access to customers’ Private Information would cause damages to Plaintiff and Class
    26   members.
    27          202.    As a result of Defendant’s negligent and/or willful failures, Plaintiff and Class
    28   members suffered injury, including unauthorized release of Private Information to third parties,


                                                        - 40 -
                                            CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 44 of 100 Page ID #:58




     1   and exposure to a heightened, imminent risk of unauthorized access to their private and personal
     2   data.
     3            203.    The damages to Plaintiff and Class members were a proximate, reasonably
     4   foreseeable result of Defendant’s breaches of its duties.
     5            204.    Plaintiff and Class members are entitled to damages in an amount to be proven at
     6   trial.
                                          EIGHTH CAUSE OF ACTION
     7
                       Violation of California’s Confidentiality of Medical Information Act
     8                                     (Cal. Civ. Code § 56, et seq.)

     9            205.    Plaintiff incorporates the foregoing allegations as if set forth fully herein.
    10            206.    The short title of the California Confidentiality of Medical Information Act,
    11   California Civil Code § 56, et seq. (hereinafter referred to as the “CMIA”) states:
    12            The Legislature hereby finds and declares that persons receiving health care
                  services have a right to expect that the confidentiality of individual identifiable
    13            medical information derived by health service providers be reasonably preserved.
    14            It is the intention of the Legislature in enacting this act, to provide for the
                  confidentiality of individually identifiable medical information, while permitting
    15            certain reasonable and limited uses of that information.”
    16            207.    The CMIA provides, at Section 56.10(a), that “a provider or health care … shall
    17   not disclose medical information regarding a patient … without first obtaining an authorization.”
    18            208.    Moreover, at all times relevant, Defendant was and is a “provider of health care”
    19   within the meaning of Civil Code § 56.05(m).
    20            209.    Plaintiff and Class members are patients within the meaning of Civil Code
    21   § 56.05(k).
    22            210.    At all relevant times, Defendant obtained medical information from its patients
    23   through its Website.
    24            211.    The statute defines “medical information” as:
    25            [A]ny individually identifiable information, in electronic or physical form, in
    26            possession of or derived from a provider of health care, health care service plan,
                  pharmaceutical company, or contractor regarding a patient’s medical history,
    27            mental or physical condition, or treatment. “Individually identifiable” means that
                  the medical information includes or contains any element of personal identifying
    28            information sufficient to allow identification of the individual, such as the


                                                          - 41 -
                                              CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 45 of 100 Page ID #:59




                  patient’s name, address, electronic mail address, telephone number, or social
     1
                  security number, or other information that, alone or in combination with other
     2            publicly available information, reveals the identity of the individual.

     3   Cal. Civ. Code § 56.05(i).
     4            212.   Here, tracking code made possible the linking of a Website user and their
     5   identity. The information exchanged, including the contents of searches and the act and
     6   substance of making appointments with doctors, reveals information about patients’ “physical
     7   condition or history.”
     8            213.   As a provider of health care, a contractor, and/or other authorized recipient of
     9   medical information as defined by Civil Code § 56.05(j), Defendant is required by the CMIA to
    10   ensure that medical information regarding patients is not disclosed, disseminated or released
    11   without patients’ authorization, and to protect and preserve the confidentiality of the medical
    12   information regarding a patient, under Civil Code §§ 56.10, 56.13, 56.245, 56.26, 56.101 and
    13   56.36.
    14            214.   As provider of health care, a contractor, and/or other authorized recipient of
    15   medical information as defined by Civil Code § 56.05(j), Defendant is required by the CMIA not
    16   to disclose medical information regarding a patient without first obtaining an authorization51
    17   under Civil Code §§ 56.10, 56.13, 56.245 and 56.26.
    18
         51
    19          An “authorization” is defined under the CMIA as obtaining permission in accordance
         with Civil Code § 56.11. Under Civil Code § 56.11, an authorization for the release of medical
    20   information is valid only if it:
                (a)     Is handwritten by the person who signs it or is in a typeface no smaller than 14-
    21          point type.
    22          (b)     Is clearly separate from any other language present on the same page and is
                executed by a signature which serves no other purpose than to execute the authorization.
    23          (c)     Is signed and dated by one of the following:
                        (1)     The patient. A patient who is a minor may only sign an authorization for
    24
                        the release of medical information obtained by a provider of health care, health
    25                  care service plan, pharmaceutical company, or contractor in the course of
                        furnishing services to which the minor could lawfully have consented under Part 1
    26                  (commencing with Section 25) or Part 2.7 (commencing with Section 60).
                        (2)     The legal representative of the patient, if the patient is a minor or an
    27
                        incompetent. However, authorization may not be given under this subdivision for
    28                  the disclosure of medical information obtained by the provider of health care,
         (continued…)

                                                      - 42 -
                                           CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 46 of 100 Page ID #:60




     1          215.     As a provider of health care, a contractor, and/or other authorized recipient of
     2   personal and confidential medical information, Defendant is required by the CMIA to create,
     3   maintain, preserve, and store medical records in a manner that preserves the confidentiality of the
     4   information contained therein under Civil Code § 56.101(a).
     5          216.     At all relevant times, as a provider of healthcare a contractor, and/or other
     6   authorized recipient of personal and confidential medical information within the meaning of the
     7   CMIA, Defendant maintains medical information as defined by Civil Code § 56.05(j) of the
     8   Plaintiff and Class members.
     9          217.     Plaintiff and Class members provided their medical information as defined by
    10   Civil Code § 56.05(j) to Defendant or their medical information as defined by Civil Code §
    11   56.05(j) was provided to Defendant by other providers of health care, contractors, and/or other
    12   authorized recipients.
    13
    14   ________________________
         (…continued)
    15                 health care service plan, pharmaceutical company, or contractor in the course of
    16                 furnishing services to which a minor patient could lawfully have consented under
                       Part 1 (commencing with Section 25) or Part 2.7 (commencing with Section 60).
    17                 (3)     The spouse of the patient or the person financially responsible for the
                       patient, where the medical information is being sought for the sole purpose of
    18                 processing an application for health insurance or for enrollment in a nonprofit
    19                 hospital plan, a health care service plan, or an employee benefit plan, and where
                       the patient is to be an enrolled spouse or dependent under the policy or plan.
    20                 (4)     The beneficiary or personal representative of a deceased patient.
               (d)     States the specific uses and limitations on the types of medical information to be
    21         disclosed.
    22         (e)     States the name or functions of the provider of health care, health care service
               plan, pharmaceutical company, or contractor that may disclose the medical information.
    23         (f)     States the name or functions of the persons or entities authorized to receive the
               medical information.
    24
               (g)     States the specific uses and limitations on the use of the medical information by
    25         the persons or entities authorized to receive the medical information.
               (h)     States a specific date after which the provider of health care, health care service
    26         plan, pharmaceutical company, or contractor is no longer authorized to disclose the
               medical information.
    27
               (i) Advises the person signing the authorization of the right to receive a copy of the
    28         authorization.


                                                       - 43 -
                                            CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 47 of 100 Page ID #:61




     1          218.     Section 56.10(a) of the Civil Code provides that “[a] provider of health care,
     2   health care service plan, or contractor shall not disclose medical information regarding a patient
     3   of the provider of health care or an enrollee or subscriber of a health care service plan without
     4   first obtaining an authorization.”
     5          219.     As a result of the tracking code on its Website, Defendant has released,
     6   disclosed, and/or negligently allowed third parties to access and view Plaintiff’s and Class
     7   members’ medical information without their written authorization as required by the provisions
     8   of Civil Code § 56, et seq.
     9          220.     As a further result of the Defendant’s actions, the confidential nature of the
    10   Plaintiff’s and Class members’ medical information was breached due to Defendant’s negligence
    11   or affirmative decisions.
    12          221.     Defendant’s release and/or disclosure of medical information regarding Plaintiff
    13   and the Class members constitutes a violation of Civil Code §§ 56.06, 56.10, 56.11, 56.13, 56.26,
    14   56.36, 56.101 and 56.245.
    15          222.     By disclosing Plaintiff’s and the Class members’ medical information without
    16   their written authorization, Defendant violated the CMIA and its legal duty to protect the
    17   confidentiality of such information.
    18          223.     Defendant also violated § 56.101(a) of the CMIA, which prohibits the negligent
    19   release of Plaintiff’s and the Class members’ medical information.
    20          224.     As a direct and proximate result of Defendant’s wrongful actions, inaction,
    21   omissions, and want of ordinary care that directly and proximately caused the Data Breach,
    22   Plaintiff’s and Class members’ medical information as defined by Civil Code § 56.05(j) was
    23   viewed by, released to, and disclosed to third parties without Plaintiff’s and Class members’
    24   written authorization and Plaintiff and the Class are entitled to recover, “against any person or
    25   entity who has negligently released confidential information or records concerning him or her in
    26   violation of this part, for either or both of the following: (1) ... nominal damages of one thousand
    27   dollars ($1,000). In order to recover under this paragraph, it shall not be necessary that the
    28


                                                        - 44 -
                                              CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 48 of 100 Page ID #:62




     1   plaintiff suffered or was threatened with actual damages. (2) The amount of actual damages, if
     2   any, sustained by the patient.”
     3          225.     As a direct and proximate result of Defendant’s above–described wrongful
     4   actions, inaction, omissions, and want of ordinary care that directly and proximately caused the
     5   Data Breach and its violations of the CMIA, Plaintiff and the Class members are entitled to and
     6   hereby seek: (i) actual damages suffered, according to proof, for each violation under Civil Code
     7   § 56.36(b)(2); (ii) nominal damages of $1,000 for each violation under Civil Code § 56.36(b)(1);
     8   (iii) punitive damages under Civil Code § 56.35; and (iv) attorneys’ fees, litigation expenses, and
     9   court costs under Civil Code § 56.35.
    10                                   NINTH CAUSE OF ACTION
    11                        Violation of the California Unfair Competition Law
                                    (Cal. Bus. & Prof. Code § 17200, et seq.)
    12
                226.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.
    13
                227.     California’s Unfair Competition Law (“UCL”) prohibits any “unlawful, unfair,
    14
         or fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising.”
    15
         Cal. Bus. & Prof. Code § 17200.
    16
                228.     Defendant engaged in unfair, fraudulent, and unlawful business practices in
    17
         connection with its provision of Plaintiff’s and other Class members’ PHI and PII to unrelated
    18
         third parties, including Meta, in violation of the UCL.
    19
                229.     As alleged herein, Defendant expressly represented to consumers such as
    20
         Plaintiff and Class members, among other things: that information they entered onto Defendant’s
    21
         website would not be used for purposes other than those specifically requested by Plaintiff, such
    22
         as finding a doctor within Defendant’s system or the researching, on Defendant’s system, of
    23
         patients’ medical conditions. Defendant also omitted or concealed the material fact of that it had
    24
         installed internet eavesdropping devices, including the Meta Pixel, on its webpages. It thus failed
    25
         to disclose to Plaintiff and Class members that it failed to meet legal and industry standards for
    26
         the protection of PHI and PII and consequently, its customers’ private property and information.
    27
    28


                                                         - 45 -
                                             CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 49 of 100 Page ID #:63




     1           230.     The acts, omissions, and conduct of Defendant as alleged herein constitute
     2   “business practices” within the meaning of the UCL.
     3           231.     Defendant violated the “unlawful” prong of the UCL by violating, inter alia,
     4   Plaintiff’s and Class members’ constitutional rights to privacy, state and federal privacy statutes,
     5   and state consumer protection statutes, such as The Children’s Online Privacy Protection Act, 16
     6   C.F.R. § 312.5 (“COPPA”), The Online Privacy Protection Act, California Business and
     7   Professions Code §§ 22575-22579 (“CalOPPA”), the California Invasion of Privacy Act
     8   (“CIPA”), California Computer Data Access and Fraud Act, Cal. Penal Code § 502 (“CDAFA”),
     9   and The Health Insurance Portability and Accountability Act (“HIPAA”).
    10           232.     Defendant’s acts, omissions, and conduct also violate the unfair prong of the
    11   UCL because those acts, omissions, and conduct, as alleged herein, offended public policy
    12   (including the aforementioned federal privacy statutes, and state consumer protection statutes,
    13   such as COPPA, CalOPPA, CIPA, CDAFA, and HIPAA) and constitute immoral, unethical,
    14   oppressive, and unscrupulous activities that caused substantial injury, including to Plaintiff and
    15   Class members.
    16           233.     The harm caused by Defendant’s conduct outweighs any potential benefits
    17   attributable to such conduct and there were reasonably available alternatives to further
    18   Defendant’s legitimate business interests other than Defendant’s conduct described herein.
    19           234.     By exposing, compromising, and willfully sharing and/or selling Plaintiff’s and
    20   Class members’ private property and personal information without authorization, Defendant
    21   engaged in a fraudulent business practice that is likely to deceive a reasonable consumer.
    22           235.     A reasonable person would not have agreed interact with Defendant’s website
    23   had he or she known the truth about Defendant’s practices alleged herein. By withholding
    24   material information about its practices, Defendant was able to convince customers to use its
    25   website and to entrust their highly personal information to Defendant.
    26           236.     As a result of Defendant’s violations of the UCL, Plaintiff and Class members
    27   are entitled to injunctive relief.
    28


                                                        - 46 -
                                              CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 50 of 100 Page ID #:64




     1          237.        As a result of Defendant’s violations of the UCL, Plaintiff and Class members
     2   have suffered injury in fact and lost money or property, including but not limited to payments to
     3   Defendant and/or other valuable consideration, e.g., access to their private and personal data. The
     4   unauthorized access to Plaintiff’s and Class members’ private and personal data also has
     5   diminished the value of that information.
     6          238.        In the alternative to those claims seeking remedies at law, Plaintiff and Class
     7   members allege that there is no plain, adequate, and complete remedy that exists at law to
     8   address Defendant’s unlawful, unfair, and fraudulent practices. Further, no legal remedy exists
     9   under COPPA, CalOPPA, and HIPAA. Therefore, Plaintiff and members of the proposed Class
    10   are entitled to equitable relief to restore Plaintiff and Class members to the position they would
    11   have been in had Defendant not engaged in unfair competition, including an order enjoining
    12   Defendant’s wrongful conduct, restitution, and disgorgement of all profits paid to Defendant as a
    13   result of its unlawful and unfair practices.
    14                                         PRAYER FOR RELIEF
    15          WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated, requests
    16   that this Court:
    17          A.      Certify the Class as a class action pursuant to Code of Civil Procedure Section
    18                  382, designating Plaintiff as the Class Representative and naming the undersigned
    19                  as Class Counsel;
    20          B.      Award compensatory damages, including all applicable statutory damages, for
    21                  damages caused by Defendant’s wrongdoing;
    22          C.      Award punitive damages for the purpose of deterring Defendant from committing
    23                  similar wrongdoing in the future.
    24          D.      Permanently enjoin the Defendant from further sharing communications made on
    25                  its Website with third parties without the Website’s users’ knowledge and
    26                  consent;
    27          E.      Award pre-judgment interest to Plaintiff and Class members to the fullest extent
    28                  allowed by law;


                                                         - 47 -
                                              CLASS ACTION COMPLAINT
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 51 of 100 Page ID #:65




     1             F.     Award Plaintiff and the members of the Class the costs of bringing this action,
     2                    including the payment of reasonable attorneys’ fees and administrative and
     3                    litigation costs and expenses; and
     4             G.     Grant such other relief as the Court deems just and proper.
     5                                              JURY DEMAND
     6             Plaintiff demands a trial by jury.
     7   DATED: December 29, 2022                 Respectfully submitted,
     8                                                   WOLF HALDENSTEIN ADLER
                                                         FREEMAN & HERZ LLP
     9
    10
                                                  By:    __________________________________________
    11                                                         RACHELE R. BYRD
    12                                                   RACHELE R. BYRD
    13                                                   FERDEZA ZEKIRI
                                                         750 B Street, Suite 1820
    14                                                   San Diego, CA 92101
                                                         Telephone: (619) 239-4559
    15                                                   Facsimile: (619) 234-4599
                                                         byrd@whafh.com
    16                                                   zekiri@whafh.com

    17                                                   Attorneys for Plaintiff
    18
    19
    20
    21
    22
    23
    24
    25
    26   29015v5


    27
    28


                                                          - 48 -
                                               CLASS ACTION COMPLAINT
Electronically FILED by Superior Court of California, County of Los Angeles on 12/30/2022 03:38 PM Sherri R. Carter, Executive Officer/Clerk of Court, by S. Drew,Deputy Clerk
     ATIORNEY OR PARTY WITHOUT ATIORNEY (Name, State Bar number, and address):22STCV41085
           Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 52 ofFOR100    Page
                                                                                COURT USE ONLY ID #:66
     Rachele R. Byrd (190634)
     Wolf Haldenstein Adler et al., 750 B Street, Suite 1820, San Diego, CA 92101

              TELEPHONE NO.: 619/239-4559                         FAX NO. (Optional): 619/234-4599
             E-MAILADDRESS: byrd@whafh.com
       ATIORNEY FOR (Name): John Doe

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
      STREET ADDRESS: 111 N. Hill Street
     MAILING ADDRESS: 111 N. Hill Street
     CITY AND ZIP CODE: Los Angeles 90012
         BRANCH NAME: Stanley Mask

     CASE NAME:
      Doe v. Cedars-Sinai Health System, et al.
           CIVIL CASE COVER SHEET                                      Complex Case Designation                          CASE NUMBER:

    m (Amount
      Unlimited                        D Limited
                                             (Amount
                                                                    D Counter                   D
                                                                                            Joinder
                                                              Filed with first appearance by defendant JUDGE:
            demanded                         demanded is
                                                                  (Cal. Rules of Court, rule 3.402)
            exceeds $25,000)                 $25,000 or less)                                           DEPT.:

                                               Items 1-6 below must be completed (see mstructJons on page 2).
     1. Check one box below for the case type that best describes this case:
         Auto Tort                                                Contract                                           Provisionally Complex Civil Litigation
        D Auto (22)                                               D Breach of contract/warranty (06)                 (Cal. Rules of Court, rules 3.400-3.403)
        D Uninsured motorist (46)                                 D Rule 3.740 collections (09)                      D Antitrust/Trade regulation (03)
         Other PI/PD/WD (Personal Injury/Property                 D Other collections (09)                           D Construction defect (10)
         Damage/Wrongful Death) Tort
                                                                  D Insurance coverage (18)                          D Mass tort (40)
        D Asbestos (04)                                           D Other contract (37)                              D Securities litigation (28)
        D Product liability (24)                                  Real Property                                      D Environmentalrroxic tort (30)
        D Medical malpractice (45)                                D Eminent domain/Inverse                           D Insurance coverage claims arising from the
        D Other PI/PD/WD (23)                                       condemnation (14)
                                                                                                                             above listed provisionally complex case
                                                                                                                             types (41)
         Non-PI/PD/WD (Other) Tort                                D Wrongful eviction (33)                           Enforcement of Judgment
        CK] Business tort/unfair business practice (07)           LJ
                                                              Other real property (26)                               D Enforcement of judgment (20)
        D   Civil rights (08)                           Unlawful Detainer
                                                                                                                     Miscellaneous Civil Complaint
        D   Defamation (13)                                       D
                                                             Commercial (31)
                                                                                                                     LJ RIC0(27)
        D   Fraud (16)                                            D
                                                              Residential (32)
                                                                                                                     D Other complaint (not specified above) (42)
        D   Intellectual property (19)                            D
                                                              Drugs (38)
                                                                                                                     Miscellaneous Civil Petition
        D Professional negligence (25)                            Judicial Review
                                                                                                                     D Partnership and corporate governance (21)
        D Other non-Pl/PD/WO tort (35)                            D Asset forfeiture (05)
         Employment                                               D Petition re: arbitration award (11)              D Other petition (not specified above) (43)
       D Wrongful termination (36)                                D Writ of mandate (02)
       D Other employment (15)                                    D Other judicial review (39)
    2. This case CK] is     D is not            complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
        factors requiring exceptional judicial management:
       a.    D   Large number of separately represented parties         d.                   D
                                                                                   Large number of witnesses
       b. CK] Extensive motion practice raising difficult or novel e.                        D
                                                                                   Coordination with related actions pending in one or more
                 issues that will be time-consuming to resolve                     courts in other counties, states, or countries, or in a federal
       C.    m   Substantial amount of documentary evidence
                                                                        f.
                                                                                   court
                                                                                             D
                                                                                   Substantial postjudgment judicial supervision
    3. Remedies sought {check all that apply): a. CK] monetary b. CK] nonmonetary; declaratory or injunctive relief C. CK] punitive
    4. Number of causes of action (specify): 9: Invasion of Privacy, Breach of Contract/Good Faith, Negligence, Confidentiality, Unfair Competition
    5. This case CK] is         O is not a class action suit.
    6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
    Date: 12/29/2022
    Rachele R. Byrd
                                  (TYPE OR PRINT NAME)
                                                                                                  �-------
                                                                                                    (SIGNATURE OF PARTY OR ATIORNEY FOR PARTY)
                                                                                     NOTICE
      • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
        under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
        in sanctions.
      • File this cover sheet in addition to any cover sheet required by local court rule.
      • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
        other parties to the action or proceeding.
      • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                             Page 1 of2
                                                                                                                               Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
    Form Adopted for Mandatory Use
      Judicial Council of California                                CIVIL CASE COVER SHEET                                             Cal. Standards of Judicial Administration, std. 3.10
                       INSTRUCTIONS ONDocument
        Case 2:23-cv-00870-DSF-JPR     HOW TO COMPLETE
                                               1-1 Filed THE COVER Page
                                                         02/03/23  SHEET53 of 100 Page ID #:67
                                                                                           CM-010
To Plaintiffs and Others Filing First Papers.      If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. if the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading.              A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                     CASE TYPES AND EXAMPLES
 Auto Tort                                       Contract                                           Provisionally Complex Civil Litigation (Cal.
    Auto (22)—Personal Injury/Property               Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                       "Breach of Rental/Lease                            Antitrust/Trade Regulation (03)
                                                              Contract (not unlawful detainer             Construction Defect (10)
       Uninsured Motorist (46) (if the
        case involves an uninsured                                 or wrongful eviction)                  Claims Involving Mass Tort (40)
                                                         Contract/Warranty Breach—Seller                  Securities Litigation (28)
          motorist claim subject to
          arbitration, check this item
                                                              Plaintiff (not fraud or negligence)         Environmental/Toxic Tort (30)
                                                         Negligent Breach of Contract/                    Insurance Coverage Claims
       instead of Auto)
 Other PI/PD/WD (Personal Injury/                             Warranty                                          (arising from provisionally complex
 Property Damage/Wrongful Death)                         Other Breach of Contract/Warranty                      case type listed above) (41)
                                                     Collections (e.g., money owed, open            Enforcement of Judgment
 Tort
        Asbestos (04)                                    book accounts) (09)                           Enforcement of Judgment (20)
          Asbestos Property Damage
                                                         Collection Case—Seller Plaintiff                   Abstract of Judgment (Out of
          Asbestos Personal Injury/                      Other Promissory Note/Collections                        County)
               Wrongful Death                                 Case                                     Confession of Judgment (non-
        Product Liability (not asbestos or           Insurance Coverage (not provisionally                   domestic relations)
           toxic/environmental) (24)                     complex) (18)                                 Sister State Judgment
        Medical Malpractice (45)                         Auto Subrogation                              Administrative Agency Award
                                                         Other Coverage                                     (not unpaid taxes)
            Medical Malpractice—
              Physicians & Surgeons                  Other Contract (37)                                Petition/Certification of Entry of
     Other Professional Health Care                      Contractual Fraud                                   Judgment on Unpaid Taxes
                                                         Other Contract Dispute                         Other Enforcement of Judgment
           Malpractice
     Other PI/PD/WD (23)                         Real Property                                                 Case
         Premises Liability (e.g., slip              Eminent Domain/inverse                         Miscellaneous Civil Complaint
              and fall)                                  Condemnation (14)                              RICO (27)
         Intentional Bodily Injury/PD/WD             Wrongful Eviction (33)                             Other Complaint (not specified
               (e.g., assault, vandalism)            Other Real Property (e.g., quiet title) (26)             above) (42)
                                                         Writ of Possession of Real Property                  Declaratory Relief Only
         Intentional Infliction of
              Emotional Distress                         Mortgage Foreclosure                                 Injunctive Relief Only (non-
         Negligent infliction of                         Quiet Title                                               harassment)
                                                         Other Real Property (not eminent                     Mechanics Lien
               Emotional Distress
                                                         domain, landlord/tenant, or                          Other Commercial Complaint
         Other PI/PD/WD
 Non-PI/PD/WD (Other) Tort                                foreclosure)                                             Case (non-tort/non-complex)
     Business Tort/Unfair Business               Unlawful Detainer                                            Other Civil Complaint
           Practice (07)
                                                     Commercial (31)                                               (non-tort/non-complex)
        Civil Rights (e.g., discrimination,          Residential (32)                               Miscellaneous Civil Petition
              false arrest) (not civil               Drugs (38) (if the case involves illegal           Partnership and Corporate
                                                     drugs, check this item; otherwise,                      Governance (21)
              harassment) (08)
        Defamation (e.g., slander, libel)            report as Commercial or Residential)               Other Petition (not specified
                                                 Judicial Review                                             above) (43)
             (13)                                    Asset Forfeiture (05)
     Fraud (16)                                                                                            Civil Harassment
     Intellectual Property (19)                      Petition Re: Arbitration Award (11)                   Workplace Violence
     Professional Negligence (25)                    Writ of Mandate (02)                                  Elder/Dependent Adult
         Legal Malpractice                               Writ-Administrative Mandamus                           Abuse
         Other Professional Malpractice                  Writ-Mandamus on Limited Court                    Election Contest
              (not medical or legal)                          Case Matter                                  Petition for Name Change
     Other Non-PI/PD/WD Tort (35)                        Writ—Other Limited Court Case                     Petition for Relief From Late
 Employment                                                   Review                                            Claim
     Wrongful Termination (36)                       Other Judicial Review (39)                            Other Civil Petition
     Other Employment (15)                                Review of Health Officer Order
                                                          Notice of Appeal—Labor
                                                              Commissioner Appeals
CM-010 (Rev. September 1, 2021]                                                                                                              Page 2 of 2
                                                         CIVIL CASE COVER SHEET
              Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 54 of 100 Page ID #:68
 SHORT TITLE                                                                                                                    CASE NUMBER
Doe v. Cedars-Sinai Health System


                                    CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
                                              (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                      This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court

Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.
Step 2: In Column B, check the box for the type of action that best describes the nature of the case.
Step 3: In Column C, circle the number which explains the reason for the court filing location you have chosen.


                                                  Applicable Reasons for Choosing Courthouse Location (Column C)
 1.                   Class Actions must be filed in the Stanley Mosk Courthouse, Central District.        7.   Location where petitioner resides.

 2.                   Permissive filing in Central District.                                               8.   Location wherein defendant/respondent functions wholly.

 3.                   Location where cause of action arose.                                                9.   Location where one or more of the parties reside.

 4.                   Location where bodily injury, death or damage occurred.                              10. Location of Labor Commissioner Office.

 5.                    Location where performance required, or defendant resides.                          11. Mandatory filing location (Hub Cases – unlawful detainer, limited
                                                                                                               non-collection, limited collection).
 6.                     Location of property or permanently garaged vehicle.




                                               A                                                             B                                                      C
                                       Civil Case Cover                                                Type of Action                                           Applicable
                                       Sheet Case Type                                                (check only one)                                        Reasons (see
                                                                                                                                                              Step 3 above)
                                             Auto (22)             ‫ ܆‬2201 Motor Vehicle – Personal Injury/Property Damage/Wrongful                                 1, 4
 Auto Tort




                                                                   Death
                                      Uninsured Motorist           ‫ ܆‬4601 Uninsured Motorist – Personal Injury/Property                                              1, 4
                                             (46)                  Damage/Wrongful Death
                                        Other Personal             ‫ ܆‬2301 Premise Liability (e.g., dangerous conditions of property,                                 1, 4
                                       Injury/ Property            slip/trip and fall, dog attack, etc.)
 Other Personal Injury/ Property




                                      Damage/ Wrongful
   Damage/ Wrongful Death




                                          Death (23)               տ 2302 Intentional Bodily Injury/Property Damage/Wrongful Death                                   1, 4
                                                                   (e.g., assault, battery, vandalism, etc.)

                                                                   ‫ ܆‬2303 Intentional Infliction of Emotional Distress                                               1, 4

                                                                   ‫ ܆‬2304 Other Personal Injury/Property Damage/Wrongful Death                                       1, 4

                                                                   ‫ ܆‬2305 Elder/Dependent Adult Abuse/Claims Against Skilled Nursing                                 1, 4
                                                                   Facility

                                                                   ‫ ܆‬2306 Intentional Conduct – Sexual Abuse Case (in any form)                                      1, 4



LASC CIV 109 Rev. 11/22                                          CIVIL CASE COVER SHEET ADDENDUM                                                        LASC Local Rule 2.3
For Mandatory Use                                                   AND STATEMENT OF LOCATION
         Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 55 of 100 Page ID #:69
 SHORT TITLE                                                                                         CASE NUMBER
Doe v. Cedars-Sinai Health System


                                   A                                                 B                                            C
                           Civil Case Cover                                    Type of Action                                 Applicable
                           Sheet Case Type                                    (check only one)                              Reasons (see
                                                                                                                            Step 3 above)
                                                   ‫ ܆‬2307 Construction Accidents                                                 1, 4
                                                   ‫ ܆‬2308 Landlord – Tenant Habitability (e.g., bed bugs, mold, etc.)            1, 4
                          Product Liability (24)   ‫ ܆‬2401 Product Liability (not asbestos or toxic/ environmental)               1, 4
 Other Personal Injury/
  Property Damage/
    Wrongful Death




                                                                                                                                1, 3, 5
                                                   ‫ ܆‬2402 Product Liability – Song-Beverly Consumer Warranty Act (CA
                                                   Civil Code §§1790-1795.8) (Lemon Law)
                          Medical Malpractice      ‫ ܆‬4501 Medical Malpractice – Physicians & Surgeons                           1, 4
                                 (45)
                                                   ‫ ܆‬4502 Other Professional Health Care Malpractice                            1, 4
                           Business Tort (07)      ‫܆‬✔ 0701 Other Commercial/Business Tort (not fraud or breach of               _ 2, 3
                                                                                                                                1,
 Damage/Wrongful Death




                                                   contract)
    Injury/Property




                            Civil Rights (08)      ‫ ܆‬0801 Civil Rights/Discrimination                                          1, 2, 3
     Non-Personal




                            Defamation (13)        տ 1301 Defamation (slander/libel)                                           1, 2, 3
          Tort




                               Fraud (16)          ‫ ܆‬1601 Fraud (no contract)                                                  1, 2, 3
                             Professional          տ 2501 Legal Malpractice                                                    1, 2, 3
                            Negligence (25)
                                                   տ 2502 Other Professional Malpractice (not medical or legal)                1, 2, 3
                               Other (35)          տ 3501 Other Non-Personal Injury/Property Damage Tort                       1, 2, 3
                              Wrongful             տ 3601 Wrongful Termination                                                 1, 2, 3
 Employment




                           Termination (36)
                          Other Employment         տ 1501 Other Employment Complaint Case                                      1, 2, 3
                                 (15)
                                                   տ 1502 Labor Commissioner Appeals                                              10

                          Breach of Contract /     տ 0601 Breach of Rental/Lease Contract (not unlawful detainer or              2, 5
                             Warranty (06)         wrongful eviction)
                            (not insurance)
                                                   ‫ ܆‬0602 Contract/Warranty Breach – Seller Plaintiff (no                        2, 5
                                                   fraud/negligence)
                                                   ‫ ܆‬0603 Negligent Breach of Contract/Warranty (no fraud)                      1, 2, 5
                                                   ‫ ܆‬0604 Other Breach of Contract/Warranty (no fraud/ negligence)            1, 2, 5
 Contract




                                                   ‫ ܆‬0605 Breach of Rental/Lease Contract (COVID-19 Rental Debt)                2, 5
                            Collections (09)       ‫ ܆‬0901 Collections Case – Seller Plaintiff                                 5, 6, 11
                                                   տ 0902 Other Promissory Note/Collections Case                                5, 11
                                                   տ 0903 Collections Case – Purchased Debt (charged off consumer debt         5, 6, 11
                                                   purchased on or after January 1, 2014)
                                                   տ 0904 Collections Case – COVID-19 Rental Debt                                5, 11
                          Insurance Coverage       տ 1801 Insurance Coverage (not complex)                                     1, 2, 5, 8
                                 (18)



LASC CIV 109 Rev. 11/22                            CIVIL CASE COVER SHEET ADDENDUM                                      LASC Local Rule 2.3
For Mandatory Use                                     AND STATEMENT OF LOCATION
               Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 56 of 100 Page ID #:70
 SHORT TITLE                                                                                            CASE NUMBER
 Doe v. Cedars-Sinai Health System


                                            A                                              B                                        C
                                    Civil Case Cover                                 Type of Action                            Applicable
                                    Sheet Case Type                                 (check only one)                         Reasons (see
                                                                                                                             Step 3 above)
                                   Other Contract (37)   ‫ ܆‬3701 Contractual Fraud                                               1, 2, 3, 5
                     (Continued)
 Contract




                                                         ‫ ܆‬3702 Tortious Interference                                           1, 2, 3, 5
                                                         ‫ ܆‬3703 Other Contract Dispute (not breach/insurance/fraud/            1, 2, 3, 8, 9
                                                         negligence)
                                    Eminent Domain/      ‫ ܆‬1401 Eminent Domain/Condemnation                                        2, 6
                                         Inverse                                              Number of Parcels _________
                                   Condemnation (14)
 Real Property




                                    Wrongful Eviction    ‫ ܆‬3301 Wrongful Eviction Case                                             2, 6
                                           (33)
                                       Other Real        ‫ ܆‬2601 Mortgage Foreclosure                                               2, 6
                                      Property (26)      ‫ ܆‬2602 Quiet Title                                                        2, 6
                                                         ‫ ܆‬2603 Other Real Property (not eminent domain,                           2, 6
                                                         landlord/tenant, foreclosure)
                                   Unlawful Detainer     ‫ ܆‬3101 Unlawful Detainer – Commercial (not drugs or wrongful             6, 11
                                   – Commercial (31)     eviction)
 Unlawful Detainer




                                   Unlawful Detainer     ‫ ܆‬3201 Unlawful Detainer – Residential (not drugs or wrongful            6, 11
                                   – Residential (32)    eviction)
                                   Unlawful Detainer     ‫ ܆‬3401 Unlawful Detainer – Post Foreclosure                             2, 6, 11
                                   – Post Foreclosure
                                          (34)
                                   Unlawful Detainer     ‫ ܆‬3801 Unlawful Detainer – Drugs                                        2, 6, 11
                                      – Drugs (38)
                                    Asset Forfeiture     ‫ ܆‬0501 Asset Forfeiture Case                                            2, 3, 6
                                          (05)
                                       Petition re       ‫ ܆‬1101 Petition to Compel/Confirm/Vacate Arbitration                      2, 5
                                    Arbitration (11)
 Judicial Review




                                    Writ of Mandate      ‫ ܆‬0201 Writ – Administrative Mandamus                                     2, 8
                                          (02)           ‫ ܆‬0202 Writ – Mandamus on Limited Court Case Matter                        2
                                                         ‫ ܆‬0203 Writ – Other Limited Court Case Review                              2
                                     Other Judicial      ‫ ܆‬3901 Other Writ/Judicial Review                                         2, 8
                                      Review (39)
                                                         ‫ ܆‬3902 Administrative Hearing                                             2, 8

                                                         ‫ ܆‬3903 Parking Appeal                                                     2, 8

                                    Antitrust/Trade      ‫ ܆‬0301 Antitrust/Trade Regulation                                       1, 2, 8
 Provisionally

   Litigation




                                    Regulation (03)
   Complex




                                     Asbestos (04)       ‫ ܆‬0401 Asbestos Property Damage                                          1, 11

                                                         ‫ ܆‬0402 Asbestos Personal Injury/Wrongful Death                           1, 11


LASC CIV 109 Rev. 11/22                                  CIVIL CASE COVER SHEET ADDENDUM                                 LASC Local Rule 2.3
For Mandatory Use                                           AND STATEMENT OF LOCATION
                         Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 57 of 100 Page ID #:71
 SHORT TITLE                                                                                         CASE NUMBER
 Doe v. Cedars-Sinai Health System


                                          A                                             B                                          C
                                  Civil Case Cover                                Type of Action                              Applicable
                                  Sheet Case Type                                (check only one)                           Reasons (see
                                                                                                                            Step 3 above)
                                     Construction        ‫ ܆‬1001 Construction Defect                                             1, 2, 3
                                      Defect (10)
 Provisionally Complex




                                   Claims Involving      ‫ ܆‬4001 Claims Involving Mass Tort                                      1, 2, 8
                                    Mass Tort (40)
       (Continued)
       Litigation




                                 Securities Litigation   ‫ ܆‬2801 Securities Litigation Case                                      1, 2, 8
                                         (28)
                                      Toxic Tort         ‫ ܆‬3001 Toxic Tort/Environmental                                       1, 2, 3, 8
                                 Environmental (30)
                                 Insurance Coverage      ‫ ܆‬4101 Insurance Coverage/Subrogation (complex case only)             1, 2, 5, 8
                                     Claims from
                                  Complex Case (41)
                                   Enforcement of        ‫ ܆‬2001 Sister State Judgment                                          2, 5, 11
                                    Judgment (20)
                                                         ‫ ܆‬2002 Abstract of Judgment                                             2, 6
 Enforcement of
   Judgment




                                                         ‫ ܆‬2003 Confession of Judgment (non-domestic relations)                  2, 9
                                                         ‫ ܆‬2004 Administrative Agency Award (not unpaid taxes)                   2, 8
                                                         ‫ ܆‬2005 Petition/Certificate for Entry of Judgment Unpaid Tax            2, 8
                                                         ‫ ܆‬2006 Other Enforcement of Judgment Case                              2, 8, 9
                                      RICO (27)          ‫ ܆‬2701 Racketeering (RICO) Case                                        1, 2, 8
 Miscellaneous Civil




                                  Other Complaints       ‫ ܆‬4201 Declaratory Relief Only                                         1, 2, 8
    Complaints




                                   (not specified
                                                         ‫ ܆‬4202 Injunctive Relief Only (not domestic/harassment)                 2, 8
                                     above) (42)
                                                         ‫ ܆‬4203 Other Commercial Complaint Case (non-                           1, 2, 8
                                                         tort/noncomplex)
                                                         ‫ ܆‬4204 Other Civil Complaint (non-tort/non-complex)                    1, 2, 8
                                    Partnership          ‫ ܆‬2101 Partnership and Corporation Governance Case                      2, 8
                                    Corporation
 Miscellaneous Civil Petitions




                                  Governance (21)
                                  Other Petitions        ‫ ܆‬4301 Civil Harassment with Damages                                   2, 3, 9
                                   (not specified
                                                         ‫ ܆‬4302 Workplace Harassment with Damages                               2, 3, 9
                                    above) (43)
                                                         ‫ ܆‬4303 Elder/Dependent Adult Abuse Case with Damages                   2, 3, 9
                                                         ‫ ܆‬4304 Election Contest                                                   2
                                                         ‫ ܆‬4305 Petition for Change of Name/Change of Gender                     2, 7
                                                         ‫ ܆‬4306 Petition for Relief from Late Claim Law                         2, 3, 8
                                                         ‫ ܆‬4307 Other Civil Petition                                             2, 9




LASC CIV 109 Rev. 11/22                                  CIVIL CASE COVER SHEET ADDENDUM                                LASC Local Rule 2.3
For Mandatory Use                                           AND STATEMENT OF LOCATION
    Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 58 of 100 Page ID #:72
 SHORT TITLE                                                                    CASE NUMBER
Doe v. Cedars-Sinai Health System


Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column
C for the type of action that you have selected. Enter the address, which is the basis for the filing location
including zip code. (No address required for class action cases.)

 REASON:                                                         ADDRESS:
 ‫ ✔܆‬1. ‫ ܆‬2. ‫ ܆‬3. ‫ ܆‬4. ‫ ܆‬5. ‫ ܆‬6. ‫ ܆‬7. ‫ ܆‬8. ‫ ܆‬9. ‫ ܆‬10. ‫ ܆‬11

 CITY:                              STATE:       ZIP CODE:


Step 5: Certification of Assignment: I certify that this case is properly filed in the ____________________
                                                                                            Central
District of the Superior Court of California, County of Los Angeles [Code of Civ. Proc., 392 et seq., and LASC Local
Rule 2.3(a)(1)(E)]

Dated: ___________________
       12/30/2022                                            ____________________________________________
                                                                       (SIGNATURE OF ATTORNEY/FILING PARTY

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY COMMENCE
YOUR NEW COURT CASE:

    1. Original Complaint or Petition.
    2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
    3. Civil Case Cover Sheet Judicial Council form CM-010.
    4. Civil Case Cover Sheet Addendum and Statement of Location form LASC CIV 109 (10/22).
    5. Payment in full of the filing fee, unless there is a court order for waiver, partial or schedule payments.
    6. A signed order appointing a Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or
       petitioner is a minor under 18 years of age will be required by Court to issue a Summons.
    7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this
       addendum must be served along with the Summons and Complaint, or other initiating pleading in the
       case.




LASC CIV 109 Rev. 11/22             CIVIL CASE COVER SHEET ADDENDUM                              LASC Local Rule 2.3
For Mandatory Use                      AND STATEMENT OF LOCATION
     Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 59 of 100 Page ID #:73
                                                                                                Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Spring Street Courthouse
 312 North Spring Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 22STCV41085

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                  ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Maren Nelson                       17




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       12/30/2022
    on _____________________________                                        S. Drew
                                                                         By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
     Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 60 of 100 Page ID #:74
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
  Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 61 of 100 Page ID #:75
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  Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 62 of 100 Page ID #:76
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      ]Zdÿ̀[][ha][bcÿaceÿ]bÿa\\[\]ÿ]Zdÿ^ag][d\ÿ[cÿdkk[f[dc]ÿfa\dÿgd\b`_][bclÿÿ
      Zdÿ^ag][d\ÿahgddÿ]Za]mÿ
      Sÿ9n ÿ#-$*+0ÿo%UU+*ÿ*%ÿo%,&po*ÿ-,ÿ+,+*+-.ÿo%,3$,oÿ8+,T# $0%,ÿ%$ÿ+-ÿ*.o%,3$,o ÿ%$ÿ+-ÿ
           +& %o%,3$,oÿq+*n+,ÿÿ&-r0ÿ3$%Uÿ*n ÿ&-*ÿ*n+0ÿ0*+#p.-*+%,ÿ+0ÿ0+2, &sÿtuÿwxyz{yyÿ|}wÿzu}yxw~ÿ
         ~t~ÿt~~ÿz|}ÿ~ÿ|~~~}tÿu}ÿt~ÿuux}=ÿ
         -Sÿ1$ÿU%*+%,0ÿ*%ÿon-..,2 ÿ*n ÿ#.-&+,20ÿ, o00-$rÿ33ÿ*n ÿ+00p ÿo-,ÿ ÿ$0%. &ÿrÿ
               -U ,&U ,*ÿ-0ÿ%3ÿ$+2n*sÿ%$ÿ+3ÿ*n ÿ2%p$*ÿq%p.&ÿ-..%qÿ.- ÿ*%ÿ-U ,&sÿo%p.&ÿ-,ÿ-U ,& &ÿ
               o%U#.-+,*ÿ$0%. ÿU%0*ÿ%$ÿ-..ÿ%3ÿ*n ÿ+00p 0ÿ-ÿ& Up$$$ÿU+2n*ÿ%*n $q+0ÿ$-+0ÿÿ33ÿ0%sÿ*n ÿ#-$*+0ÿ
               -2$ ÿ*%ÿq%$ÿ*n$%p2nÿ#.-&+,2ÿ+00p 0ÿ0%ÿ*n-*ÿ-ÿ& Up$$$ÿ, &ÿ%,.rÿ$-+0ÿ+00p 0ÿ*n rÿo-,,%*ÿ
               $0%. Sÿÿ30ÿ*n ÿ+00p ÿ*n-*ÿ*n ÿ& 3,&-,*ÿ0 0ÿ*%ÿ$-+0ÿ-U ,-.ÿ*%ÿ$0%.p*+%,ÿ%,ÿ& Up$$$sÿ%$ÿ
               q%p.&ÿ0%U ÿ%*n $ÿ*r# ÿ%3ÿU%*+%,ÿ ÿ#$3$-.ÿÿ2%p.&ÿ-ÿ%.p,*-$rÿ*-$2 *&ÿon-,2 ÿ%3ÿ
               &%opU ,*0ÿ%$ÿ+,3%$U-*+%,ÿrÿ-,rÿ#-$*rÿop$ÿ-,ÿp,o$*-+,*rÿ+,ÿ*n ÿ#.-&+,20ÿ
         Sÿ3,+*+-.ÿUp*p-.ÿon-,2 0ÿ%3ÿ&%opU ,*0ÿPOÿO@ÿGB@ÿGFÿO@ÿIMOMPOMGSÿÿ8(%$ÿ-U#.sÿ+,ÿ-,ÿ
                 U#.%rU ,*ÿo-0sÿ*n ÿ U#.%rU ,*ÿ$o%$&0sÿ# $0%,, .ÿ3+.ÿ-,&ÿ&%opU ,*0ÿ$.-*+,2ÿ*%ÿ*n ÿ
               GDOÿMÿ@AOMGÿGIDÿ@ÿGAMD@B@DÿGB@ÿÿÿPÿR@BAGPIÿMBÿPA@ÿPÿMMD@OÿGBÿ
               #%.+oÿ$#%$*sÿU &+o-.ÿ$o%$&0sÿ-,&ÿ$#-+$ÿ%$ÿU-+,*,-,oÿ$o%$&0ÿo%p.&ÿ ÿo%,0+& $&ÿ
               GB@ÿ
         oSÿ7on-,2 ÿ%3ÿ,-U 0ÿ-,&ÿo%,*-o*ÿ+,3%$U-*+%,ÿ%3ÿq+*, 000ÿ
         &Sÿ1,rÿ+,0p$-,oÿ-2$ U ,*ÿ*n-*ÿU-rÿ ÿ--+.-.ÿ*%ÿ0-*+03rÿ#-$*ÿ%$ÿ-..ÿ%3ÿ-ÿp&2U ,*sÿ%$ÿ*%ÿ
               +,& U,+3rÿ%$ÿ$+Up$0ÿ3%$ÿ#-rU ,*0ÿU-& ÿ*%ÿ0-*+03rÿ-ÿp&2U ,*ÿ
           Sÿ7on-,2 ÿ%3ÿ-,rÿ%*n $ÿ+,3%$U-*+%,ÿ*n-*ÿU+2n*ÿ ÿn .#3p.ÿ*%ÿ3-o+.+*-*ÿp,& $0*-,&+,2sÿn-,&.+,2sÿ
               %$ÿ$0%.p*+%,ÿ%3ÿ*n ÿo-0ÿ+,ÿ-ÿU-,, $ÿ*n-*ÿ#$0$ 0ÿ%o*+%,0ÿ%$ÿ#$++.2 0ÿrÿ-2$ U ,*ÿ
         3Sÿ2%,*$%..+,2ÿ+00p 0ÿ%3ÿ.-qÿ*n-*sÿ+3ÿ$0%. &ÿ-$.rsÿq+..ÿ#$%U%*ÿ33+o+,orÿ-,&ÿo%,%Urÿ+,ÿ%*n $ÿ
               #n-00ÿ%3ÿ*n ÿo-0Sÿÿ1.0%sÿqn ,ÿ-,&ÿn%qÿ0ponÿ+00p 0ÿo-,ÿ ÿ#$0,*&ÿ*%ÿ*n ÿ2%p$*ÿ
         2Sÿ;n *n $ÿ%$ÿqn ,ÿ*n ÿo-0ÿ0n%p.&ÿ ÿ0on &p.&ÿq+*nÿ-ÿ0**.U ,*ÿ%33+o$sÿqn-*ÿ&+0o% $rÿ%$ÿ
               o%p$*ÿ$p.+,2ÿ%,ÿ.2-.ÿ+00p 0ÿ+0ÿ$-0%,-.rÿ$p+$&ÿ*%ÿU- ÿ0**.U ,*ÿ&+0op00+%,0ÿU -,+,23p.sÿ
               -,&ÿqn *n $ÿ*n ÿ#-$*+0ÿq+0nÿ*%ÿp0ÿ-ÿ0+**+,2ÿp&2 ÿ%$ÿ-ÿ#$+-*ÿU &+-*%$ÿ%$ÿ%*n $ÿ%#*+%,0ÿ-0ÿ
      01234ÿ667ÿ89 ÿ6ÿ                                                                                                     ÿ
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Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 72 of 100 Page ID #:86

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                    6789:88;6ÿ7=ÿ>?;ÿ@AB>;C=D>7E;ÿF78G:>;ÿH;8IB:>7I=ÿJAFHKÿL=MICND>7I=ÿOD9PDQ;Rÿ8;CE;6ÿS7>?ÿ>?;ÿ
                    T/U-V3WXYZÿ
          [\ÿ /U-]Y3YW/Xÿ/5ÿ03U34^_ÿWXTV]0WX4ÿ0/T]UXY^_ÿX/Yÿ-.WWV40ÿ/.ÿ-./YTY0ÿ5./Uÿ0W^TV/^]._ÿ/Xÿ
                    `[WT[ÿ^]T[ÿT/U-]Y3YW/XÿW^ÿa3^0Zÿ
          W\ÿb[Y[.ÿY[ÿT3^ÿW^ÿ^]WY3aVÿ5/.ÿY[ÿ8c-0WY0ÿd].eÿ4.W3Vÿ-./T0].^ÿ^ÿWX5/.U3YW/Xÿ3Yÿ
                    fffghijklmngkmoÿ:=6;Cÿ@pqrqsRÿD=6ÿ>?;=ÿ:=6;Cÿ@tuvuwxsÿzv{|w}x~q|vRKÿÿ
 \ÿ 4[ÿYWUÿ5/.ÿ3ÿ05X0WX4ÿ-3.YeÿY/ÿ.^-/X0ÿY/ÿ3ÿT/U-V3WXYÿ/.ÿT./^^T/U-V3WXYÿ`WVVÿaÿcYX00ÿ
                    Y/ÿÿ5/.ÿY[ÿÿT/U-V3WXY_ÿ3X0ÿÿ5/.ÿÿY[ÿÿT./^^ÿÿ
 ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ60834ÿ 48ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ60834ÿ 48ÿ
                    T/U-V3WXY_ÿ̀[WT[ÿW^ÿT/U-.W^0ÿ/5ÿY[ÿÿ03e^ÿY/ÿ.^-/X0ÿ]X0.ÿ/.XUXYÿ/0ÿÿa_ÿ
                    3X0ÿY[ÿÿ03e^ÿ-.UWYY0ÿaeÿ /0ÿ/5ÿ WWVÿ2./T0].ÿ^TYW/Xÿ13_ÿ4//0ÿT3]^ÿ[3WX4ÿ
                    aXÿ5/]X0ÿaeÿY[ÿWWVÿ0]-.W^WX4ÿd]04ÿ0]ÿY/ÿY[ÿT3^ÿU3X34UXYÿaX5WY^ÿ-./W00ÿaeÿ
                    Y[W^ÿ0YW-]V3YW/X\ÿÿT/-eÿ/5ÿY[ÿX.3Vÿ2.0.ÿT3Xÿaÿ5/]X0ÿ3Yÿsx|w~|wÿ:=6;Cÿ@pqrqsRÿ
                    9B79PÿI=ÿ@tuvuwxsÿzv{|w}x~q|vRÿ>?;=ÿ9B79PÿI=ÿ@|sv~xwÿ{{qquv~ÿq~qx~q|vÿ~qsx~q|vRÿ
 \ÿ 4[ÿ-3.YW^ÿ`WVVÿ-.-3.ÿ3ÿ/WXYÿ.-/.YÿYWYV0ÿ@d/WXYÿ0Y3Y]^ÿ3-/.Yÿ2].^]3XYÿY/ÿ6XWYW3Vÿ/X5.XTÿ
                    3X0ÿ83.Veÿ2.43XW3YW/X3VÿYWX4ÿ0YW-]V3YW/X_ÿ3X0ÿW5ÿ0^W.0_ÿ3ÿ-./-/^0ÿ/.0.ÿ^]UU3.WWX4ÿ
                    .^]VY^ÿ/5ÿY[W.ÿUYÿ3X0ÿT/X5.ÿ3X0ÿ30W^WX4ÿY[ÿ /].Yÿ/5ÿ3Xeÿ`3eÿWYÿU3eÿ3^^W^YÿY[ÿ-DC>7;8ÿ
                    55WTWXYÿT/X0]TYÿ/.ÿ.^/V]YW/Xÿ/5ÿY[ÿT3^\ÿÿ4[ÿ-3.YW^ÿ^[3VVÿ3YY3T[ÿY[ÿd/WXYÿ0Y3Y]^ÿ3-/.YÿY/ÿ
                    Y[ÿ 3^ÿ3X34UXYÿ /X5.XTÿ^Y3YUXY_ÿ3X0ÿ5WVÿY[ÿ0/T]UXY^ÿ`[XÿY[ÿ  ÿ
                    ^Y3YUXYÿW^ÿ0]\ÿ
 1\ÿ 3;M;C;=9;8ÿ>Iÿ@6D8RÿN;D=ÿ9DB;=6DCÿ6D8ÿ:=B;88ÿI>?;CS78;ÿ=I>;6ÿÿLMÿ>?;ÿ6D>;ÿMICÿG;CMICN7=Qÿ
                    3Xeÿ3TYÿ-].^]3XYÿY/ÿY[W^ÿ^YW-]V3YW/Xÿ53VV^ÿ/Xÿ3ÿ03Y].03e_ÿ0]X03eÿ/.ÿ/].Yÿ[/VW03e_ÿY[XÿY[ÿYWUÿ
                    5/.ÿ-.5/.UWX4ÿY[3Yÿ3TYÿ^[3VVÿaÿcYX00ÿY/ÿY[ÿXcYÿ/].Yÿ03eÿ
 4[ÿ5/VV/`WX4ÿ-3.YW^ÿ^YW-]V3Y9ÿ
 3Y9ÿ                                                                                        ÿ
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 7 0 ÿ--./0ÿ1ÿ               !"#$ÿ&ÿ'"(!)ÿ#(*"$+"#$"!ÿ,''$*ÿ                                                                                    ÿ
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5@9130ÿ1::75ÿ9 >ÿ                                 ÿ
   144785;ÿ7ÿ98A >ÿ                                    ÿ
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     KHTPMZHÿNIWIKRSÿLOLRT[PT\ÿOQSÿOQÿIQVPTWONÿXPQVRTRQXRÿ[IKHÿKHRÿ+PMTKÿKPÿOISÿIQÿKHRÿ
     TRJPNMKIPQÿPVÿKHRÿIJJMRJ]ÿÿ
       HRÿLOTKIRJÿOZTRRÿKHOK^ÿ
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         `[U\O]RP^ÿ`[UbTVRFÿ[X\ZT`[XcÿVaRÿWQ\VUÿQX`ÿZRcQZÿQPcTYRXVUÿQVÿ[UUTRdÿÿ OPÿQXÿ$XUeRPÿVOÿ
         "RSTRUVÿWOPÿXWOPYQZÿ'[U\O]RP^ÿ)OXWRPRX\RFÿ_P[RWZ^ÿ`RU\P[_Rÿea^ÿVaRÿ)OTPVÿUaOTZ̀ÿ`RX^ÿ
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         VaRÿPRSTRUVR`ÿ̀[U\O]RP^Fÿ[X\ZT`[XcÿVaRÿWQ\VUÿQX`ÿZRcQZÿQPcTYRXVUÿQVÿ[UUTRdÿÿ
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Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 78 of 100 Page ID #:92

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                                                                  LOS ANGELES SUPERIOR COURT
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                                                                        JOHN A ia
                                                                   BY NANCY’   vans DEPUTY




                  SUPERIOR COURT OF THE STATE OF CALIFORNIA

                           FOR THE COUNTY OF LOS ANGELES


  General Order Re                                      ORDER PURSUANT TO CCP 1054(a),
  Use of Voluntary Efficient Litigation                 EXTENDING TIME TO RESPOND BY
                                             ee




  Stipulations                                          30 DAYS WHEN PARTIES AGREE
                                             ee




                                                        TO EARLY ORGANIZATIONAL
                                             ee




                                                        MEETING STIPULATION
                                             ee
                                             —




         Whereas the Los Angeles Superior Court and the Executive Committee of the

  Litigation Section of the Los Angeles County Bar Association have cooperated in

  drafting “Voluntary Efficient Litigation Stipulations” and in proposing the stipulations for

  use in general jurisdiction civil litigation in Los Angeles County;

         Whereas the Los Angeles County Bar Association Litigation Section; the Los

  Angeles County Bar Association Labor and Employment Law Section; the Consumer

  Attorneys Association of Los Angeles; the Association of Southern California Defense

  Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

  Employment Lawyers Association all “endorse the goal of promoting efficiency in

  litigation, and ask that counsel consider using these stipulations as a voluntary way to

  promote communications and procedures among counsel and with the court to fairly

  resolve issues in their cases;”

                                                  -1-

                             ORDER PURSUANT TO CCP 1054(a)
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 80 of 100 Page ID #:94




          Whereas the Early Organizational Meeting Stipulation is intended to encourage

  cooperation among the parties at an early stage in   litigation in order to achieve

  litigation efficiencies;

          Whereas it is intended that use of the Early Organizational Meeting Stipulation

  will promote economic case resolution and judicial efficiency;

          Whereas, in order to promote a meaningful discussion of pleading issues at the

  Early Organizational Meeting and potentially to reduce the need for motions to

  challenge the pleadings, it is necessary to allow additional time to conduct the Early

  Organizational Meeting before the time to respond to a complaint or cross complaint

  has expired;

          Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

  which an action is pending to extend for not more than 30 days the time to respond to

  a pleading “upon good cause shown”;

          Now, therefore, this Court hereby finds that there is good cause to extend for 30

  days the time to respond to a complaint or to a cross complaint in any action in which

  the parties have entered into the Early Organizational Meeting Stipulation.     This finding

  of good cause is based on the anticipated judicial efficiency and benefits of economic

  case resolution that the Early Organizational Meeting Stipulation is intended to

  promote.

          IT IS HEREBY ORDERED that, in any case in which the parties have entered

  into an Early Organizational Meeting Stipulation, the time for a defending party to

  respond to a complaint or cross complaint shall be extended by the 30 days permitted




                                              ¥.

                             ORDER PURSUANT TO CCP 1054(a)
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 81 of 100 Page ID #:95




   by Code of Civil Procedure section 1054(a) without further need of a specific court

  order.




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                                            Carolyn B. Kuh f Supervising Judge of the
                                            Civil Departments, Los Angeles Superior Court




                                              ..

                            ORDER PURSUANT TO CCP 1054(a)
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                     SUPERIOR COURT FOR THE STATE OF CALIFORNIA

                                   COUNTY OF LOS ANGELES



   JOHN DOE                                             Case No.: 22STCV41085

                   Plaintiff,                           INITIAL STATUS CONFERENCE
                                                        ORDER (COMPLEX CLASS ACTIONS)
            VS.

   CEDARS-SINAI HEALTH            SYSTEM
                                                        Dept. 17
                   Defendant                            Spring Street Courthouse
                                                        Hon. Maren E. Nelson




             This Initial Status Conference Order (Complex Class Actions) supplements a

   Minute Order served concurrently herewith. That Minute Order sets a date and time for

   the Initial Status Conference and includes other provisions which not repeated in this

   Order.     Counsel should review that Minute Order carefully to be fully informed of-your




                                           ISC     ORDER      -    1
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 84 of 100 Page ID #:98




   obligations and the processes used in the Los Angeles Superior Court Complex
   Courtrooms.


          Pending further order, the following is ordered:


   L      Initial Status Conference

          Counsel for all parties shall appear for an Initial Status Conference (“ISC”) per the
   Minute Order served concurrently herewith.
          Counsel representing a party at the ISC or any other status conference should be
   fully familiar with the facts as then understood and be able to make binding agreements
   respecting case management.
          Parties presently engaged in mediation or who have a secured a date with a
   mediator for mediation may stipulate to one continuance of the ISC, provided they also

   agree upon an e-service provider, as set forth in Item 8, below, and include the name of
   the provider and the date of the mediation in their Stipulation for Continuance.      It is
   expected that parties using this procedure will timely exchange such information as is
   necessary to have a productive mediation and that the mediation will go forward as

   scheduled.
          At the ISC, the Court will discuss case management, set dates for motions, and
   invite the parties to propose procedures to enhance efficiency and avoid duplicative or
   unnecessary expenditures of time.
          At least ten (10) days prior to the ISC, all counsel shall meet, preferably by use of
   telephone and/or video technology, to discuss case management.         Plaintiffs counsel shall

   take the lead in preparing a joint ISC: Statement and ensuring that it is filed at least five
   (5) court days prior to the ISC.   To the extent the parties are unable to agree on a joint

   submission, each party may separately present a brief statement of its position. If any
   party who has been served with this Order declines to participate, all other parties shall
   file an.ISC statement.
          The ISC Statement shall contain the following in the following order:



                                           ISC   ORDER   -   2
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 85 of 100 Page ID #:99




       . A succinct description of the facts of the case as then known. In wage and hour
         cases the nature of the employee’s work, the employer’s business, and the specific
         factual bases for claims under the Labor Code shall be provided. Citations to
         relevant statutes and pending appellate cases that may impact the case shall be
         provided.
       . A discussion of any issues of jurisdiction, venue, contractual arbitration/judicial
         reference that any party intends to raise and the meet and confer efforts to date on
         these issues. Prior to the ISC any party seeking arbitration shall have provided a
         copy of the applicable agreement to arbitrate to the opposing party and a decision
         should have been made as to whether a motion to compel arbitration will be
         required. Dates for any motions involving challenges to jurisdiction, venue, the
         pleadings, or referrals to arbitration will be set at the ISC.
       . Counsel should address issues such as an agreement to share the cost of class
         notice/opt out procedures, the adequacy of class representatives, and potential
         conflicts of interest among class representatives.
       . Whether the action incorrectly identifies the name of any party and whether any
         party intends to add parties or causes of action by way of amendment, cross-
         complaint, or the like.
       . The names, addresses, telephone, email, and facsimile numbers of all counsel and
         the parties they represent.
       . Any basis for the Court’s recusal or disqualification.
       . A discussion of the identity of entities or persons other than those shown in the
         pleadings that may have a significant financial or other interest in the proceedings.
       . A joint recommendation for an e-service provider for inclusion in the Court’s
         order for initiation of e-service.     The parties must employ an agreed e-service
         provider.   The parties shall identify the appointed e-service provider in the caption
         of each filing.
24
       . A brief description of any related cases pending in other courts or anticipated for
25
         future filing.



                                          ISC     ORDER   -   3
     Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 86 of 100 Page ID
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         10. Whether there is insurance coverage for the dispute.
         11. A plan to preserve evidence, to deploy a uniform system for identification of
            documents, and to protect confidentiality by, for example, executing a protective
            order.
         12. A preliminary discovery plan, with dates, reflecting the parties’ consideration of
            phased discovery, e.g., limiting initial discovery to a significant or dispositive
            issue as a predicate to an important early ruling or meaningful participation in an
            early mediation.   In class actions, the parties should address whether discovery
            should initially be limited to class certification issues.
         13. Where appropriate, the parties should outline a process for managing discovery of
            electronically stored information (ESI) by, for example, scheduling a meeting
            among counsel and the parties’ information technology consultants in order to
            address (1) the information management systems employed by the parties; (2) the
            location and custodian(s) of information likely to be subject to production
            (including the identification of network and email servers and hard drives
            maintained by target custodians); (3) the format in which electronically stored
            information will be produced; (4) the type of ESI that will be produced, i.e., data
            files, emails, etc.; and (5) appropriate search criteria for focused requests.
         14. Any proposed mechanism for and the timing of mediation and/or mandatory
            settlement conferences to assist in resolution of the case.
         15. Any issues regarding publicity which the Court should consider.

         16. Recommended dates and times for trial, filing of motions for class certification,
            alternative dispute resolution, and deadlines (and proposed briefing schedules) for
            filing other anticipated motions.
         17. A recommended date for the next Status Conference.



            Reminders And Other Information
24
         1. It is the joint responsibility of counsel to file a joint status conference statement for
25
            all status conferences scheduled after the ISC, which statement shall be filed five



                                             ISC   ORDER   -   4
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 87 of 100 Page ID
                                  #:101




       (5) court days in advance of the status conference.
     . Counsel may secure dates for motions by calling the Courtroom Assistant.
       Counsel should have jointly discussed any likely contested motion with each other
       and the Court before it is filed so that, if possible, the matter may be resolved or
       narrowed by agreement or, if filed, an appropriate briefing schedule is set.
     . Unless otherwise ordered, counsel may appear remotely for all appearances.
       Please be in a quiet place and note that a party speaking may not hear
       simultaneous speech in the courtroom. Please speak slowly and pause frequently.
       Each counsel should advise the others at least 24 hours in advance as to whether
       an appearance will be remote or in person.
     . Any message on the message board for the Court should be joint and neutral in
       tone. Absent good cause shown no unilateral postings are appropriate.
     . In the ordinary course, discovery motions will not be heard without an Informal
       Discovery Conference (IDC) pursuant to Cal. Code of Civ. Pro. § 2016.080.
       Counsel may arrange for an IDC by jointly posting a request on the e-service
       provider’s message board. If all counsel are not in agreement, counsel may
       request an IDC by filing LACTV094.          Unilateral requests for IDC by message
       board are not appropriate.
     . Specific direction as to the matters to be provided to the Court for the IDC and the
       timing of same will be given at the time the IDC is arranged and may vary
       depending on the nature of the dispute.          Unless otherwise ordered, IDC are held by
       LACourtConnect and off the record.

     . It is the responsibility of all counsel to notify the Court promptly of any related

       case and to secure a ruling thereon. See Cal. Rules of Court, Rule 3.300 et. seq.
       This responsibility is on-going.
     . Posting documents to the e-service provider does not constitute filing a document.
       See the Minute Order for further terms re efiling.
     . Counsel desiring a protective order should consult the model on the court’s
       website and provide a redlined copy if deviations are made from same.           See



                                          ISC   ORDER     -   5
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 88 of 100 Page ID
                                  #:102



          “Helpful Guidance From the Complex Litigation Judges” on the Complex
          Litigation webpage link provided in the Minute Order.
       10. Any future stay ordered by the Court for purposes of case management is not a
          stay under Code of Civil Procedure § 583.310 unless the Court so orders
       11. The dismissal of a class action requires court approval. Cal. Rules of Court, Rule
          3.770(a). Counsel must submit a declaration setting forth, among other things, the
          reasons why a party seeks a dismissal in a class action and any and all
          consideration given in exchange for the dismissal.
       12. Settlement of claims filed under the Private Attorney General Act (PAGA)
          (whether or not filed as part of a class action) require notice to the Labor and
          Workforce Development Agency. Labor Code § 2699 (1)(2). A noticed hearing,
          with proof of service to LWDA and a proposed Order, is required to secure
          approval of the settlement of a PAGA claim. Settlements that include dismissal of
          a PAGA claim require that the Court be advised of the specific terms of any
          release of the PAGA claim and the consideration, if any, for same.
  To obtain approval of a class action settlement, the parties should strictly adhere to the
 Guidelines for Motions for Preliminary and Final Approval posted on the court’s website
 under Tools for Litigators. See the link to same in the Minute Order served concurrently
 herewith.
 IV.      Notice of the ISC Order
          Plaintiff’s counsel shall serve this Initial Status Conference Order on all defense

 counsel, or if counsel is not known, on each defendant and file a Proof of Service with
 the court within seven (7) days of the date of this Order. If the Complaint has not been
 served as of the date of this Order, plaintiff(s) must serve the Complaint, along with a
 copy of this Order, within five (5) days of the date of this Order.
          Once served, each as yet non-appearing defendant shall file a Notice of
 Appearance (identifying counsel by name, firm name, address, email address, telephone
 number and fax number).       The filing of a Notice of Appearance is without prejudice to

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                                          ISC   ORDER   -   6
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 89 of 100 Page ID
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 (a) any jurisdictional, substantive, or procedural challenge to the Complaint, (b) any
 affirmative defense, and (c) the filing of any cross-complaint in this action.


 Date: 1/13/2023


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                                                      "                Maren E. Nelson
                                                                  Judge of the Superior Court
                                                              Maren Nelson / Judge




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Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 90 of 100 Page ID

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                                                    #:107
        Attorney or Party without Attorney:                                                                                               For Court Use Only
        RACHELE R. BYRD, ESQ. (SBN 190634)
        Wolf Haldenstein Adler Freeman & Herz LLP
        750 B Street, Suite 1820
        San Diego, CA 92101
          Telephone No: (619) 239-4599

            Attorney For:                                                       Ref. No. or File No.:
                                 Plaintiff
                                                                                CEDARS 83552.001

        Insert name of Court, and Judicial District and Branch Court:
        SUPERIOR COURT OF THE STATE OF CALIFORNIA IN AND FOR THE COUNTY OF LOS
        ANGELES
           Plaintiff:       JOHN DOE, on behalf of himself and all others similarly situated
        Defendant:          CEDARS-SINAI HEALTH SYSTEM, et al.

                  PROOF OF SERVICE                          Hearing Date:               Time:           Dept/Div:           Case Number:
                                                                                                                            22STCV41085
                     SUMMONS

      1.    At the time of service I was at least 18 years of age and not a party to this action.

      2.    I served copies of the Summons; Class Action Complaint; First Amended General Order; Notice of Case Assignment-
            Unlimited Civil Case; Voluntary Efficient Litigation Stipulations; Stipulation-Discovery Resolution; Stipulation-Early
            Organizational Meeting; Informal Discovery Conference; Stipulation And Order-Motions In Limine; Alternative Dispute
            Resolution (ADR) Information Package

      3.    a.    Party served:            CEDARS-SINAI HEALTH SYSTEM
            b.    Person served:           Jessie Gastelum, Intake Specialist, CT Corporation System, Registered Agent

      4.    Address where the party was served:              330 N Brand Blvd Suite 700 , Glendale, CA 91203

      5.    I served the party:
            a. by personal service.            I personally delivered the documents listed in item 2 to the party or person authorized to receive
                                               service of process for the party (1) on (date): Fri, Jan 06 2023 (2) at (time): 12:40 PM
            (1)         X      (business)
            (2)                (home)
            (3)                (other) :


      6.    The "Notice to the Person Served" (on the summons) was completed as follows:
            a.                as an individual defendant.
            b.                as the person sued under the fictitious name of (specify):
            c.                as occupant.
            d.      X         On behalf of (specify): CEDARS-SINAI HEALTH SYSTEM
                              under the following Code of Civil Procedure section:
                                X     416.10 (corporation)                                                  415.95 (business organization, form unknown)
                                      416.20 (defunct corporation)                                          416.60 (minor)
                                      416.30 (joint stock company/association)                              416.70 (ward or conservatee)
                                      416.40 (association or partnership)                                   416.90 (authorized person)
                                      416.50 (public entity)                                                415.46 (occupant)
                                      other:



                            Judicial Council Form POS-010                           PROOF OF                                                                           8185130
                            Rule 2.150.(a)&(b) Rev January 1, 2007                   SERVICE                                                                       (15071207 )
                                                                                    SUMMONS                                                                         Page 1 of 2
           Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 94 of 100 Page ID
                                             #:108
 Attorney or Party without Attorney:                                                                               For Court Use Only
 RACHELE R. BYRD, ESQ. (SBN 190634)
 Wolf Haldenstein Adler Freeman & Herz LLP
 750 B Street, Suite 1820
 San Diego, CA 92101
   Telephone No: (619) 239-4599

      Attorney For:                                               Ref. No. or File No.:
                        Plaintiff
                                                                  CEDARS 83552.001

 Insert name of Court, and Judicial District and Branch Court:
 SUPERIOR COURT OF THE STATE OF CALIFORNIA IN AND FOR THE COUNTY OF LOS
 ANGELES
     Plaintiff:   JOHN DOE, on behalf of himself and all others similarly situated
 Defendant:       CEDARS-SINAI HEALTH SYSTEM, et al.

           PROOF OF SERVICE                       Hearing Date:           Time:           Dept/Div:    Case Number:
                                                                                                       22STCV41085
              SUMMONS




                                                                             Recoverable cost Per CCP 1033.5(a)(4)(B)
7.    Person who served papers
      a. Name:                              Douglas Forrest
      b. Address:                           c/o FIRST LEGAL
                                            530 B Street, Suite 1050
                                            SAN DIEGO, CA 92101
      c.    Telephone number:               (619) 231-9111
      d.    The fee for service was:        $110.80
      e.    I am:
            (1)         not a registered California Process Server.
            (2)           exempt from registration under Business and Professions Code section 22350(b).
            (3)     X     a registered California process server:
                          (i)           owner        employee      X independent contractor
                          (ii)      Registration No: 5141
                          (iii)     County: Los Angeles




8.    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                                                                                  01/09/2023
                                                                                     (Date)                             Douglas Forrest




                  Judicial Council Form POS-010                        PROOF OF                                                               8185130
                  Rule 2.150.(a)&(b) Rev January 1, 2007                SERVICE                                                           (15071207 )
                                                                       SUMMONS                                                             Page 2 of 2
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            Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 98 of 100 Page ID
                                              #:112
                                                                                                                            POS-030(P)
   SHORT TITLE: DOE v. CEDARS-SINAI HEALTH SYSTEM et al.                                          CASE NUMBER:
                                                                                                 22STCV41085


          ATTACHMENT                 TO PROOF OF SERVICE BY FIRST-CLASS                MAIL—CIVIL (PERSONS SERVED)
                                                (This Attachment is for use with form POS-030)
  NAME AND ADDRESS OF EACH PERSON SERVED BY MAIL:
                     Name of Person Served                                  Address (number, street, city, and zip code)

  BURSOR & FISHER, P.A.                                    1990 North California Blvd., Suite 940
  L. Timothy Fisher                                        Walnut Creek, CA 94596

  BURSOR & FISHER, P.A.                                    888 Seventh Avenue
  Joshua D. Arisohn, Philip L. Fraietta                    New York, NY 10019

  BURSOR & FISHER, P.A.                                    701 Brickell Ave., Suite 1420
  Christopher R. Reilly                                    Miami, FL 33131-2800

  DRURY LEGAL, LLC                                         6 Carriage Lane
  Scott R. Drury                                           Highwood, Illinois 60040

  CEDARS-SINAI MEDICAL CENTER                              330 N Brand Blvd., Suite 700
  CT Corporation System                                    Glendale, CA 91203

  CEDARS-SINAI HEALTH SYSTEM                               330 N Brand Blvd., Suite 700
  CT Corporation System                                    Glendale, CA 91203




 Form Approved for Optional Use
   Judicial Council of California
                                    ATTACHMENT TO PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL                               Page 4 of 4.
POS-030(P) [New January 1, 2005]                       (PERSONS SERVED)
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   Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 99 of 100 Page ID
                                     #:113
                                                                                  Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Spring Street Courthouse
312 North Spring Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
John Doe
DEFENDANT/RESPONDENT:
Cedars-Sinai Health System, et al.

                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              22STCV41085

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order (Court Order re: Notice of Related
Case) of 01/25/2023 upon each party or counsel named below by placing the document for collection and
mailing so as to cause it to be deposited in the United States mail at the courthouse in Los Angeles,
California, one copy of the original filed/entered herein in a separate sealed envelope to each address as
shown below with the postage thereon fully prepaid, in accordance with standard court practices.




    Rachele Renee Byrd
    Wolf Haldenstein Adler Freeman & HerzLLP
    750 B Street
    Suite 1820
    San Diego, CA 92101




                                                      David W. Slayton, Executive Officer / Clerk of Court
Dated: 01/25/2023                                     By:   M. Mata
                                                            Deputy Clerk




                                      CERTIFICATE OF MAILING
Case 2:23-cv-00870-DSF-JPR Document 1-1 Filed 02/03/23 Page 100 of 100 Page ID
                                   #:114
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                            Civil Division
                     Central District, Spring Street Courthouse, Department 17

 22STCV41085                                                                        January 25, 2023
 JOHN DOE vs CEDARS-SINAI HEALTH SYSTEM, et al.                                             3:17 PM


 Judge: Honorable Maren Nelson                       CSR: None
 Judicial Assistant: Maribel Mata                    ERM: None
 Courtroom Assistant: None                           Deputy Sheriff: None

 APPEARANCES:
 For Plaintiff(s): No Appearances
 For Defendant(s): No Appearances




 NATURE OF PROCEEDINGS: Court Order re: Notice of Related Case

 The Court finds that the following cases, 22STCV41085 and 23STCV00469, are related within
 the meaning of California Rules of Court, rule 3.300(a). 22STCV41085 is the lead case. For
 good cause shown, said cases are assigned to Judge Maren Nelson in Department 17 at Spring
 Street Courthouse for all purposes.

 The Court is in receipt of a Notice of Related Case, seeking to relate Doe v Cedars Sinai
 22STCV41085 and Browne v Cedars Sinai 23STCV00469. Having reviewed the Complaints in
 both actions it appears that the central allegations and legal theories overlap and that relation is
 proper pursuant to CRC 3.300 et seq.

 An Initial Status Conference will be held in both cases on 04/04/2023 at 9:00 a.m. All other dates
 in both cases are vacated. All parties and counsel shall file in each case a single joint Initial
 Status Conference report 5 court days in advance. In addition to the topics addressed in the
 Court’s previously served Initial Status Conference Orders the parties shall discuss:

 (1) The need, if any, for a consolidated complaint;
 (2) Coordination of discovery in both actions;
 (3) A shared document repository
 (4) Whether motion practice should be coordinated; and
 (5) Any other matters which counsel for any party believe would be usefully considered so as to
 efficiently manage the litigation to the befit of all parties.

 Counsel for plaintiff is to give notice.

 Certificate of Mailing is attached.


                                            Minute Order                                   Page 1 of 1
